   Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 1 of 65



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION
USOR SITE PRP GROUP,                          §
                                              §
       Plaintiff,                             §
                                              §
                v.                            §       CIVIL ACTION NO. 4:14-cv-02441
                                              §
A-1 CLEANING SEPTIC                           §
SERVICE, LLC; et.al.                          §
                                              §
       Defendants.                            §


                           AFFIDAVIT OF KIRK W. BROWN
                     IN OPPOSITION TO DEFENDANT BOAT SHED’S
                                MOTION TO DISMISS

1. My name is Kirk W. Brown and I reside at 12684 Hunters Creek Road in College Station,
   Brazos County, Texas. I certify that I am over 21 years of age and am competent to make this
   affidavit.
Background and Qualifications
2. From 1970 through 2001, I was a member of the faculty at Texas A&M University and currently
   serve as Professor Emeritus in the Soil and Crop Sciences Department, Texas A&M University,
   College Station, Texas. In 1990, I received a joint appointment to the faculty in Toxicology
   where I supervised the research of master’s degree and doctoral candidates in the field of
   toxicology as well. My educational background includes a Bachelor of Science degree in
   Agronomy from Delaware Valley College (1962), Masters of Science degree in
   Agronomy/Plant Physiology from Cornell University (1964), and a Doctor of Philosophy
   degree from University of Nebraska (1969). My resume is attached as Appendix 1. It includes
   my complete list of publications.
3. From 1987 through 2001, I taught a graduate level course entitled “Land Disposal of Wastes”.
   This course addressed the theoretical and practical aspects of land treatment and landfilling of
   a wide range of municipal, industrial, and hazardous wastes with a special emphasis on the fate
   and mobility of waste constituents in both soil and surface waters, including the influence of
   soil physical and chemical properties on the constituent fate. As part of the work for this course,
   Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 2 of 65



   I taught a section on basic risk assessment and the impacts of risk under the Comprehensive
   Environmental Response, Compensation, and Liability Act (“CERCLA”).
4. During my tenure at Texas A&M, I conducted extensive research including numerous research
   projects for the U.S. Environmental Protection Agency (“USEPA”) and the National Institute
   of Health (“NIH”) on the fate and transport of contaminants, including pathways of exposure
   and toxicity of hazardous substances to receptors in the environment. As a result of these
   research efforts, I have authored or co-authored over 190 peer-reviewed, scientific publications,
   twenty-five of which deal with risk assessment or toxicity of hazardous substances in the
   environment.
5. I have served on Technical advisory panels to the USEPA, committees of the Office of
   Technical Assessment and the National Academy of Science. Significant reports resulting from
   these committee assignments include, Groundwater and Soil Cleanup, Improving Management
   of Persistent Contaminants (1999); Ranking Hazardous Waste Sites (1994); Coming Clean,
   Superfund Problems Can Be Solved (1989); and Superfund Strategy (1985).
6. In 1981, I was appointed to the USEPA Land Treatment Task Force where I served from 1981
   through 1985. As part of my assignment with the Task Force, I evaluated the alternatives for
   land disposal of wastes and the risk associated the disposal alternatives. While a member of
   this Task Force, I testified before the U.S. House of Representatives – Science and Technology
   Committee in November 1982 on the adequacy of USEPA’s liquid management system to
   protect groundwater at hazardous waste landfills, which lead to the passage of the Hazardous
   and Solid Wastes Amendments of 1984 under the Resource Conservation and Recovery Act
   (“RCRA”).
7. In 1983 and 1984, I was a member of the Advisory Panel to the U.S. Congressional Office of
   Technology Assessment. This panel was tasked with determining the effectiveness of current
   USEPA programs to clean up uncontrolled hazardous waste sites. As part of my assignment
   with this committee, I reviewed and evaluated the toxicity and imposed risk to receptors due to
   hazardous substances and provided recommendations for improving the efficiency of the
   USEPA programs to mitigate risk at uncontrolled hazardous waste sites.
8. In 1984, I was a member of the Office of Water Regulations and Standards Committee on
   Municipal Sludge Landfilling, which was formed to advise USEPA on the pollutants which
   should be regulated for disposal and the methods or procedures to be used for regulating such
   Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 3 of 65



   pollutants. As part of my work for this committee, I assessed the hazards and risks associated
   with the hazardous substance contained in municipal sewage sludge and provided
   recommendations for regulations of metals in sewage sludge based on the degree of risk
   presented by exposure to these constituents.
9. From 1987 through 1995, I was a member of the Advisory Panel to U.S. Congressional Office
   of Technology Assessment which was tasked with assessing the effectiveness of the USEPA in
   identifying, prioritizing, and cleaning up hazardous waste sites. As part of my work for this
   committee, I evaluated the impacts of exposure from different media and the effectiveness of
   available technologies to mitigate exposure and risk from hazardous waste sites.
10. From 1991 through 1994, I served on the National Academy of Sciences, Committee on
   Remedial Action Priorities for Hazardous Waste Sites, where I evaluated the role of risk
   assessment and mitigation of risk in the decision process for remedial action.
11. From 1995 through 1998, I served on the National Academy of Sciences, National Research
   Council Committee on Environmental Technologies, Subcommittee on Landfills. As part of
   my assignment to this committee, I evaluated the risk due to contaminants in soil and
   groundwater and recommended strategies for the managements and control of recalcitrant
   wastes for the reduction of risk due to these persistent contaminants.
12. In addition, I have served on numerous USEPA review panels addressing toxicity and risk
   including the following, among others:
       a. USEPA Panel to Review the Acceptability of Landfill Disposal of Sewage Sludge
          (1984);
       b. USEPA Panel to Write a Protocol for Mutagenicity Sample Preparation (1984);
       c. USEPA Hazardous Waste Center Review Panel (1988); and
       d. USEPA Review for Risk Assessment for Petroleum Industry Hazardous Waste Listing
          Determination (1995).
13. I was the primary author of a 1982 Publication for the USEPA’s Municipal Environmental
   Research Laboratory entitled, Characteristics of Hazardous Waste Streams. This publication
   addressed the specific industrial sources of waste and the hazardous substances they contain as
   related to the standard industrial classification (SIC) codes of the industrial generator.
14. I was the primary author of a 1983 publication for the USEPA entitled, Hazardous Waste Land
   Treatment. This publication specifically addressed the treatment of hazardous waste from
   Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 4 of 65



   industrial waste streams to mitigate risk and eliminate risk to potential receptors upon
   completion of land treatment.
15. Additionally, I provided technical review as a member of peer review panels for the United
   States Department of Health and Human Services, Public Health Services for review of
   toxicological profiles for the Agency for Toxic Substances and Disease Registry (“ATSDR”)
   from 1990 through 2000.
16. I have been a consultant in the field of environmental science and engineering for the past 36
   years. I founded K. W. Brown and Associates, Inc., and served as President from 1980 until
   1991. I was employed as a Principal Consultant with K. W. Brown Environmental Services
   from 1991 until 1999 and with SI Group, LP from 2000 through 2008. In March 2009, I joined
   the firm of ThermoTech Intl. (“TTI”) and was employed as a Principal Consultant through April
   2011. Since that time, I have been employed as an independent consultant.
17. As a consultant, I have studied and am familiar with industrial, commercial, and residential
   waste, and the disposal facilities that eventually contain such waste. I have extensive expertise
   regarding the fate and transport of hazardous substances which were contained in these wastes
   when released to the environment in general, and to the soils in particular. I have researched
   the risks associated with leachate from landfills containing these wastes. I have also investigated
   the fate and behavior of organic compounds and metals found in leachate from landfills and the
   resulting impacts on the underlying groundwater. I have reviewed numerous remedial plans and
   proposed remedies pertaining to landfills containing industrial, commercial, and residential
   wastes.
18. Through these years of consulting, numerous private and public clients have employed me. My
   expertise has been utilized for site assessments, data review and interpretation, waste
   management activities, the study of fate and transport of contaminants in the environment, the
   movement of contaminants in groundwater and surface water, the design and implementation
   of remedial actions for recalcitrant organic compounds, and other related environmental
   matters. I have also reviewed and interpreted a large quantity of analytical data for soils and
   groundwater, as well as borings logs, field logs, technical reports, and other information related
   to the environmental conditions of a site.
19. As a consultant, I have evaluated or analyzed numerous waste disposal and landfill sites
   including the following: Laurel Park Landfill, Beacon Heights Landfill, Lone Pine Landfill, Ft.
   Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 5 of 65



   Bend County Landfill, Oak Grove Landfill, East Bethel Landfill, Dickson County Landfill, and
   Sinton Landfill, among others. In addition, I have also worked on the following Superfund sites:
   Hardage Criner, Love Canal Landfill, Lowrey Landfill, Montana Pole, National Gypsum, Riley
   Tar, Sharon Steel, Helen Kramer Landfill, Sikes’ Pits, Metal Bank of America, Tar Creek, and
   the West Dallas Lead Site.
20. I am personally familiar with the definition of “hazardous substance” as defined in § 101(14)
   of the Comprehensive Environmental Response, Compensation, and Liability Act and under
   the statutes and regulations incorporated by reference into that section. A hazardous substance
   under CERCLA is defined in 42 U.S.C. § 9601 (14), invoking the EPA designations under 42
   U.S.C. § 3001 and 9602, among other statutes. Included in the definition of a CERCLA
   hazardous substance are certain hazardous wastes which are either listed in 40 C.F.R § 261,
   Subpart D or have certain identified characteristics as described in 40 C.F.R. § 261, Subpart C.
   Likewise, I am familiar with the regulations defined in the Texas Solid Waste Disposal Act
   (H&S Code § 361) and the requirements specified for the disposal of solid wastes contained in
   that chapter.
21. I have qualified and given testimony as an expert witness in civil cases in federal and state
   courts, regulatory hearings, and enforcement actions pertaining to hazardous wastes, organic
   chemical contamination, and the fate and transport of organic chemicals, metals, and other
   contaminants in environmental media, as well as exposure and risk, among other issues. I have
   offered opinions related to these topics at several Superfund sites. A complete list of cases in
   which I have rendered opinions is presented in Attachment 2.
22. As a result of these activities, I am intimately familiar with the hazardous substances contained
   in the wastes received by the U.S. Oil Recovery Site (“USOR”) site and am well aware of the
   risk associated with the exposure to these hazardous substances when released to the
   environment.
Data and Other Information Considered
23. I was retained by counsel for the U.S. Oil Recovery Site PRP Group in connection with the
   above-captioned lawsuit. One of the subjects I was asked to consider was whether waste
   streams of certain Defendant companies, which I understand had been disposed of at the USOR
   site in Harris County, Texas, contained “hazardous” substances, giving “hazardous” the same
   meaning it has in Federal and state environmental law.
   Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 6 of 65



24. At the request of counsel for the Plaintiffs, I have prepared this affidavit in response to recent
   Motions to Dismiss and/or Motions for Summary Judgement by the Defendant. I have reviewed
   the site information and discovery responses provided by counsel as well as information
   gathered independently and offer my professional opinions in this report. The opinions I have
   formed in this matter are based on my education and experience as well as the information cited
   for this report in Attachment 3.
Opinions and Basis of Opinions
25. I have reviewed the discovery records concerning the operations of The Boat Shed (“Boat
   Shed”) which were provided by counsel.
26. In the Defendant’s Original Answer to Plaintiff’s Second Amended Complaint, the Defendant
   admitted that, in June of 2005, Boat Shed “contracted with Gulf Coast Vacuum Service, Inc.,
   to remove and dispose of nonindustrial materials, specifically, water. Defendant denies that the
   materials in question were hazardous and denies that it selected the USOR Site as the site to
   which the materials should be sent. Defendant denies that it arranged for transportation of any
   hazardous materials at the USOR Site” (Boat Shed, 2016a).
27. In the Defendant’s Reply to Plaintiff's Response to Defendant's Motion to Dismiss Plaintiff's
   Second Amended Complaint, the Defendant stated, “The Boat Shed was a family operated self-
   storage facility in Pasadena, Texas. In June of 2005, The Boat Shed's facility caught fire and
   the fire department responded to put out the fire. The day after the fire, Gulf Coast Vacuum
   Service, Inc. ("Gulf Coast Vacuum") contacted The Boat Shed and offered to remove and
   dispose of the water at The Boat Shed's facility. The Boat Shed agreed and entered into a one-
   time contract with Gulf Coast Vacuum for the removal of the water. The water in question is
   non-industrial, non-hazardous material” (Boat Shed, 2016b).
28. In the Defendants’ Motion to Dismiss, Boat Shed further stated “additional USOR Site records-
   again referred to in Plaintiffs complaint-clearly identify and label the water in question as non-
   industrial, nonhazardous, clear, odorless, had the pH level of water, and that it did not contain
   any of the alleged hazardous substances Plaintiff complained of...” (Boat Shed, 2016c).
   Additionally, Defendants provided a copy of the Generator Liquid Profile Sheet with their
   Motion to Dismiss as Exhibit C.
29. However, the Generator Liquid Profile Sheet attached to the Defendant’s Motion to Dismiss is
   incomplete. The profile sheet was not based on analytical testing of the wastewater nor did the
   Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 7 of 65



   profile sheet reference any Material Safety Data Sheets for determining the composition of the
   waste. Further, the Generator Liquid Profile Sheet, as attached in Exhibit C of the Motion to
   Dismiss, was not signed or dated by a representative of Boat Shed as specified by USOR (Boat
   Shed, 2016c).
30. According to internet Yellow Pages listings for Boat Shed, the Defendant operated a boat
   storage facility offering boat servicing, minor repairs, and public commercial warehousing
   (NAICS Code 441222 and 493110).
31. In the Texas Commission of Environmental Quality (“TCEQ”) Central Registry, Boat Shed and
   its facility address are not registered as a regulated entity. Likewise, Boat Shed is not registered
   in the United States Environmental Protection Agency’s Facility Registry Service.
32. As a storage and warehousing facility, Boat Shed rented space for the temporary storage of
   boats and watercraft. The contents of the facility, more likely than not, would have contained
   small quantities of fuel and oil, in addition to cleaning compounds, waxes, degreasing agents,
   paint, and residual surface coating products, among others (EPA, 1991b; EPA, 1999).
33. The minor repairs and servicing processes conducted at the Boat Shed facility would include
   metal cutting, grinding, surface preparation, and surface coating, among others. The waste
   streams generated at the Boat Shed facility as a result of these processes would include spent
   cutting oils, used metalworking fluids, metal shavings, grinding residues, solvents, degreasers,
   waste surface coating products, adhesives, and waste bonding agents, among others (EPA,
   1995c; EPA, 1997a; EPA 1997b).
34. In my opinion, based on the Boat Shed discovery records that I reviewed and my knowledge
   and experience with maintenance and repair processes carried out at facilities like the Boat Shed
   during the time period in question, the processes, listed above, would have generated one or
   more of the following substances as wastes: acetone, benzene, toluene, xylene, methyl ethyl
   ketone,   methylene     chloride,    dichloroethylene,    trichloroethylene,    perchloroethylene,
   trichloroethane, chromium, copper, lead, and zinc; all of which are hazardous substances under
   CERCLA. (40 CFR §302.4; EPA, 1990; Brown and Nelson, 1994; EPA, 1997a; EPA, 1997c).
35. Further, it is my opinion that the fire that consumed the facility in June of 2005, would have
   generated residual polycyclic aromatic hydrocarbon (“PAH”) compounds including anthracene,
   fluorene, fluoranthene, naphthalene, phenanthrene, and benzo(a)pyrene, among others, as
Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 8 of 65
Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 9 of 65




                              APPENDIX 1
  Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 10 of 65



                                           Kirk W. Brown, Ph.D.

Biographical Data
Principal Consultant; KW Brown, Environmental Consultant
Born: July 3, 1940; Bethlehem, PA
Citizenship: U.S.A.
Marital Status: Married           No. of Children: 3

Education
Ph.D., Agronomy, University of Nebraska, 1969
M.S., Agronomy/Plant Physiology, Cornell University, 1964
B.S., Agronomy, Delaware Valley College, 1962

Areas of Expertise

Fate and Movement of Salt, Oil, Metals, Organic Chemicals, Gases, Nutrients, Pesticides and Pathogens in Soil, Air
and Groundwater Environments; Remediation of Metal and Organic Chemical Contaminated Soils and
Groundwater; Leachability and Translocation of Metals and Organic Chemicals in the Soil Profile; Fixation and
Stabilization of Metals in the Environment; Characteristics of Hazardous and Municipal Wastes; Industrial Waste
Stream Identification; Classification and Fingerprinting of Waste Materials; Disposal of Municipal, Industrial, and
Hazardous Waste by Land Treatment and Landfilling; Land Treatment of Sewage Sludge, Industrial Wastewater and
Sludge; Bioremediation of Polluted Soils; Vapor Extraction of Soils; Toxicity and Risk-based Assessment of Soil
Contaminants to Plants and Animals; Flux of Volatile Chemicals in Air; Air Dispersion Modeling; Influence of
Chemicals on the Permeability of Landfill Liners; Sources and Transport of Methane; Composting of Municipal and
Hazardous Waste; Design and Operation of Septic Systems; Nonpoint Source Pollution; Expansive Properties of
Clay Soils; Soil Solution Sampling; Fate of Mutagenic Compounds in Soil; Mold and Fungal Growth; Reclamation
of Drastically Disturbed Lands; Aerial Photo Interpretation; Soil Use and Suitability Classification; Agricultural
Water Use Efficiency; Crop Water Stress; Golf Green and Athletic Field Construction; Use of Windbreaks; Soil
Crusting; Gas Movement in Soil.
Academic
Professor Emeritus, Soil and Crop Sciences, Texas A&M University, 2001-Present.
Professor, Soil and Crop Sciences, Texas A&M University, 1981-2001.
Associate Professor, Soil and Crop Sciences, Texas A&M University, 1973-1981.
Assistant Professor, Soil and Crop Sciences, Texas A&M University, 1970-1973.
Visiting Scientist, Center of Plant Physiological Research, Wageningen, Netherlands, August, 1969-July, 1970.
Research Assistant, University of Nebraska, June, 1965-December, 1969.
Teaching Assistant, Cornell University, September, 1964-June, 1965.


COURSES TAUGHT
Soil Physics (Undergraduate Course No. 445) 1970-2001.
The practical aspects of soil texture, structure, water management, as well as the theoretical aspects of soil water
potentials, and the movement of water, ions, gas, and heat in the soil.
Advanced Soil Physics (Graduate Course No. 617) 1970-1988.
An in-depth study of the physical properties of soil including basic principles which regulate the dynamics of soil,
water and ion movement, soil aeration, and soil thermal relationships. Equations describing these processes are
presented and references to current literature are provided for outside reading.
  Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 11 of 65
Kirk W. Brown


Reclamation of Drastically Disturbed Lands (Graduate Course No. 615) 1979-1986.
Concepts influencing the reclamation, revegetation, and establishment of a stable ecological system on lands that
have been drastically disturbed by strip mining, severe erosion, or toxic waste contamination.
Land Disposal of Wastes (Graduate Course No. 616) 1987-2001.
The theoretical and practical aspects of the land treatment and landfilling of a wide range of municipal, industrial,
and hazardous wastes. Emphasis has been placed on the fate and mobility of various waste constituents in the soil
and the influence of soil physical and chemical properties on constituent fate.


Short Courses Taught
Soil Science Institute (One month course) 1984, 1986, 1992, 1993
Land Treatment of Industrial Waste - Chemical Engineering Society, 1982, 1983.
Landfill Liner Design, University of Texas - 1986, 1987.

Society Memberships
American Society of Agronomy, 1970-2001
Soil Science Society of America, 1970-2001
American Chemical Society, 1970-2001
International Society of Soil Science, 1970-2001

Editorial Board
Environmental Engineering Science, formerly Hazardous Waste and Hazardous Materials. 1989-2001.

Reviewed Papers For

Soil Science Society of America Proceeding; Soil Science, Journal of Environmental Quality; Environmental
Engineering Science, formerly Hazardous Waste and Hazardous Materials; ATSDR; American Petroleum Institute;
Water, Air & Soil Pollution; Waste Management & Research, Water Pollution Control Federation; Water Research;
Waste Management; Journal of Hazardous Materials; Archives of Environmental Contamination and Toxicology.

Elected Positions
Chairman, ASA Section A5, 1989-90
General program chairman for ASA meetings, 1973
Chairman, ASA Section A3, 1972

Committee Appointments
National Academy of Sciences, National Research Council Committee on Environmental Technologies
    Subcommittee on Landfills (1995-1998).
EPA Review for Risk Assessment for Petroleum Industry Hazardous Waste Listing Determination (Sept 1995).
Environmental Geosciences Advisory Committee of the American Geological Institute representing the Soil Science
    Society of America (1993-2000).
National Academy of Sciences (NRC) Committee on Remedial Action Priorities for Hazardous Waste Sites
    (1991-1994).
Texas Natural Resource Conservation Commission Committee on rules on Wastewater Treatment Plant Sludge,
    Water Treatment Plant Sludge and Septic Tank Sludge Disposal (1992-1993).
Texas Water Commission Committee to Develop Regulations on the Land Application of Sewage Sludge (1992-93).
Faculty of Toxicology Executive Committee, Texas A&M University (1990-93).
Texas Governor's Infrastructure Committee on Free Trade (1991).
Oklahoma Corporation Commission on Land Application of Oil Field Drilling Waste (1990-1991).
Texas Department of Health Ad Hoc Committee for Revising the Construction Standards for On-Site Sewage
    Facilities (1989-90).
EPA Hazardous Waste Center Review Panel (1988).
  Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 12 of 65
Kirk W. Brown


National Science Foundation, Environmental Engineering Div., Review Panel (1987-1995).
Texas Dept. of Health Septic Disposal Regulations Revision Panel (1987).
Advisory Panel to Chicot Aquifer Management Project (Louisiana). McNeese State University, LA (1987-1990).
ASA Editorial Committee "Reaction and Movement of Organic Chemicals in Soils" 1987.
Advisory Panel to U.S. Congressional Office of Technology Assessment (OTA) on An Assessment of the
    Effectiveness of the EPA in Identifying, Prioritizing and Cleaning Up Hazardous Waste Sites (1987-1995).
Organizing Committee for SSSA Workshop on Utilization, Treatment and Disposal of Waste on Land (1985).
Panel to Write Research Needs for Hazardous Wastes Treatment and Disposal for National Science Foundation.
    Drexel University, PA (1986).
EPA Technical Advisory Panel on the Adequacy of Ground Water Monitoring at Hazardous Waste Landfills (1985).
Panel to Write the Mutagenicity Sample Preparation Protocol for EPA (1984).
EPA Panel to Review the Acceptability of Landfill Disposal of Sewage Sludge (1984).
Office of Water Regulations and Standards Committee on Municipal Sludge Landfilling to Advise EPA on the
    Pollutants which should be Regulated for Various Disposal Options and the Methods or Procedures to be Used
    for Regulating such Pollutants (1984).
Advisory Panel to U.S. Congressional Office of Technology Assessment (OTA) to Determine the Effectiveness of
    Current Programs to Clean Up Uncontrolled Hazardous Waste Sites (1983-84).
EPA Science Review Panel for Environmental Engineering Research Grants (1982-1998).
United States Environmental Protection Agency Land Treatment Task Force (1981-1985).

Significant Reports Resulting from Committee Assignments
National Research Council. 1999. “Groundwater & Soil Cleanup, Improving Management of Persistent
    Contaminants”.
National Research Council. 1994. “Ranking Hazardous Waste Sites”.
Office of Technology Assessment, Congress of the United States of America. 1989. “Coming Clean, Superfund
    Problems Can be Solved”.
Office of Technology Assessment, Congress of the United States of America. 1985. “Superfund Strategy”.

University Committees
Texas A&M University Environmental Safety and Health Committee (1987-90).
Council of Principal Investigators, Texas A&M University (1986-1990).
Texas Agricultural Experiment Station 5-Year Planning Board.
Texas A&M University Faculty Forum (1979-82).
Texas Agricultural Experiment Station Grant Support Committee (1976-77).

Awards
Texas A&M University College of Agriculture Award for Excellence in Teaching (1995)
Texas A&M University System Award for Excellence in Graduate Teaching (1988)
ASA Environmental Quality Research Award (1988)
Fellow - Soil Science Society of America (1987)
Fellow - American Society of Agronomy (1986)
Distinguished Alumni Award, Delaware Valley College (1986)
Superior Achievement Award for Research, Soil and Crop Sciences Department, Texas A&M University (1986)
Pollution Engineering Magazine Award of Merit for Outstanding Editorial Contribution "The Case for Aboveground
    Landfills" (1984)

Books Authored
Hazardous Waste Land Treatment. 1983. Butterworth Publishers, 10 Tower Office Park, Woburn, MA 01801.
Reactions and Movement of Organic Chemicals in Soils. 1989. Sawhney, B. L. and K. W. Brown. SSSA/ASA
    Publishers, SSSA Special Publication No. 22, 494 pgs.

Professional Experience Outside the United States
Visiting Scientist at Center of Plant Physiological Research,Wageningen (1969-70).
  Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 13 of 65
Kirk W. Brown


Testimony Before Legislative Bodies
Texas House of Representatives - Environmental Affairs Committee, April 1987. Testified on the need for
    legislation to set up a waste management plan for the state.
Texas Governor’s Taskforce on Oil Spills, February 1985. Testified on the fate of oil spill debris and disposal
    technology options.
Texas Governor’s Taskforce on Hazardous Waste, November 1984. Testified on the effectiveness of landfills for
    disposal technology.
Texas Governor’s Taskforce on Hazardous Waste, June 1984. Testified on the impact of organic chemicals on the
    permeability of soils.
U.S. House of Representatives - Science and Technology Committee, November 1982. Testified on the adequacy of
    EPA's liquid management system to protect groundwater at hazardous waste landfills.
Texas House of Representatives - Environmental Affairs Committee, April, 1982. Testified on the impact of organic
    chemicals on the permeability of clay liners.

Consulting
Founder and President of K. W. Brown and Assoc., Inc., (1980- 1991). Chief technical consultant to K. W. Brown
Environmental Services (1991-1999), SI Group, LP (2000-2009), TTI Environmental Consultants (2009–2011),
and as an independent consultant (2011-Present). Past consulting activities have included assignments with
Dupont, Alcoa, General Motors Corporation, Minnesota Mining & Manufacturing, WR Grace, Owens Corning,
Union Pacific Railroad, Chevron, Shell, Exxon, Texaco, Arco, Sunoco, El Paso Products, New York Attorney
General's Office, Illinois Attorney General's Office, Minnesota Attorney General’s Office, Minnesota Pollution
Control Administration, U.S. EPA, U.S. Army Corps of Engineers, and U.S. Dept. of Justice.

Consulting activities have included consultations on the cleanup and disposal of wastes, the impacts of hazardous
waste on the environment, assessment and remediation of exploration and production releases, the design of
hazardous waste landfills and solid waste management units, and the fate and mobility of chemicals in the soil,
groundwater, and air, as well as, providing expert testimony at permit hearings, mediation hearings, civil suits, and
before legislative bodies on these topics. My expertise has been utilized for site assessments, data review and
interpretation, the study of fate and transport of contaminants in the environment, waste management activities,
historical oilfield and landfill operations, and other related environmental matters. I have reviewed and interpreted a
large quantity of analytical data for air, soils and groundwater, as well as boring logs, field logs, technical reports,
and other information related to the environmental conditions of a site. I have prepared and reviewed remedial
action plans for hundreds of sites including sites contaminated with metals, organic chemicals, pesticides, biological
pathogens and petroleum production wastes. I have designed and implemented remedial actions at numerous
hazardous waste sites under the auspices of both state and federal regulatory authorities.

As a consultant, I have evaluated or analyzed hazardous substances in industrial waste streams from numerous
industries including the lumber and paper industries, the printing industry, chemical manufacturing industry,
petroleum exploration, production, processing and refining industries, plastics and rubber products industry, leather
tanning and finishing, metal smelting and finishing, electric utilities, and the electronic components manufacturing
industry, among others. I have conducted extensive research on the hazardous substances contained in municipal and
household waste with a special emphasis on the fate and mobility of these constituents in the environment after
disposal in municipal solid waste landfills. I have provided evaluations and assessments for numerous waste
disposal and landfill sites including the following: Love Canal Landfill, Lowrey Landfill, Helen Kramer Landfill,
Junker Landfill, Lemberger Landfill, Laurel Park Landfill, Beacon Heights Landfill, RCA-Buzby Landfill,
Valleycrest Landfill, Boarhead Farms, Pennsauken Landfill, Lone Pine Landfill, Ft. Bend County Landfill, and
Sinton Landfill, among others. In addition, I have also provided expert testimony for civil actions involving the
following Superfund sites: Hardage Criner, Montana Pole, National Gypsum, Brio/Dixie Oil Processors, Sikes’ Pits,
Turtle Bayou, Metal Bank of America, Tar Creek, and the West Dallas Lead Site.

Guest Lectures
Dewatering of confined dredge spoil areas. In: Second International Symposium on Dredging Technology. BHRA
   Fluid Engineering, Cranfield, Bedford, England. Paper G1:1-24. (1977).
  Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 14 of 65
Kirk W. Brown


Revegetation of drastically disturbed lands. Texas A&M Lignite Symposium. April 17-18. (1980).
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Kirk W. Brown


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Kirk W. Brown


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Kirk W. Brown


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Kirk W. Brown


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"An investigation of the return flow from irrigated land." 1972- 1973. Funded by OWRR for $31,200. Final Report
    submitted September, 1974.
"Fate of metals applied in sewage to land wastewater disposal sites." 1973-1974. Funded by the U. S. Army Medical
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  Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 26 of 65
Kirk W. Brown


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"The influence of Petro S on the infiltration rate and water holding capacity of soil." 1974-1975. Funded by the
    Petro-chemical Co., Inc. for $8,280. Final Report submitted December, 1975.
"The influence of trickle irrigation on the quality of irrigation return flow." 1973-1974. Funded by Office of Water
    Resources Research for $45,000. Final Report submitted March, 1976.
"Analysis of overburden cores TPPI fuel deposit." 1976. Funded by the Texas Power Pool, Inc. for $24,500. Final
    Report submitted February, 1977.
"Feasibility study of general crust management as a technique for increasing capacities of dredged material
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    Engineers for $53,529. Final Report published April, 1977.
"Analysis of four overburden cores." 1977. Funded by the Paul Weir Co. for $5,600. Final Report submitted July,
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"Accumulation and passage of pollutants in domestic septic tank disposal fields." 1973-1975. Funded by the U. S.
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"Physiological model of plant growth and development of ecosystem simulation." 1975-1978. Funded by the
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"Evaluate the feasibility of revegetating mixed overburden at the proposed Angelina County lignite site."
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"Characteristics of overburden material and revegetation analysis for the Southwest Electric Power Company
    Deposit." 1977- 1978. Funded by the Southwest Electric Power Company for $53,600. Final Report submitted
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"The impact of surface lignite mining on surface and groundwater quality." 1978-1979. Funded by the Texas Energy
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"Analysis of groundwater quality and the probable quality of leachate, TMPA Fuel Deposit, Grimes County, Texas."
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"To investigate the feasibility of irrigation disposal of uranium stripping reclamation water." 1979. Funded by nine
    private companies for $9,869. Final Report submitted December, 1979.
"Statistical and biophysical modeling of Dendroctonus frontalis-Host tree dynamics: II. Physical models of
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    County." 1978. Funded by Texas Municipal Power Agency for $7,192. Final Report submitted.
"To investigate the feasibility of irrigation disposal of uranium stripping leach water. Phase II: Laboratory Study."
    1979. Funded by Mobil Oil Corp. for $20,000. Final Report submitted January, 1980.
"To investigate the necessity of a sand layer between the top mixture and gravel layer in golf green construction."
    1978-1979. Funded by the United States Golf Association, Greens Section for $3,220. Final Report submitted
    March, 1980.
"To develop a plan to minimize the volume of runoff water which must be treated and disposed of and to assess the
    feasibility of land disposal of the runoff water and sludge." 1979-1980. Funded by Texas Engineering Extension
    Service for $11,058.40. Final Report submitted April, 1980.
"Investigate the concentration of heavy metals and certain other physical and chemical properties - Gibbons Creek
    Lignite Mine." 1980. Funded by Texas Municipal Power Agency for $12,500. Final Report submitted April,
    1980.
"Improved water and nutrient management through high-frequency irrigation." 1977-1980. Funded by Texas Water
    Resources Institute for $179,435. Work completed June, 1980.
"Environmental and safety aspects of the use of sulfur in highway pavements." 1980. Funded by the DOT-Federal
    Highway Administration for $38,951. Final Report submitted August, 1980.
  Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 27 of 65
Kirk W. Brown


"Root distribution of bermudagrass grown on reclaimed lignite spoil." 1980-1981. Funded by the Center for Energy
     and Mineral Research for $12,590. Final Report submitted August, 1981.
"A residual evaluation of the influence of chemicals on the permeability of soil clays." 1979-1980. Funded by the
     Environmental Protection Agency for $91,783. Report submitted December, 1981.
"Investigate the influence of organic matter quality and placement on the establishment of grass and the physical
     properties of golf green mixes." 1979-1981. Funded by the U. S. Golf Association, Green Section for $10,177.
     Final Report submitted February, 1982.
"Metal uptake by grasses grown on reclaimed lignite spoils." 1979-1980. Funded by the Center for Energy and
     Mineral Research for $13,100.
"Soil disposal of API pit wastes." 1977-1980. Funded by the Environmental Protection Agency for $184,104. Final
     report submitted in 1981.
"Evaluate subsurface landfarm contamination after long term use." 1980-1981. Funded by the American Petroleum
     Institute for $98,530. Final Report published in 1983.
"The use of bioassays to evaluate the environmental impact of land treatment of hazardous industrial wastes."
     1980-1983. Funded by the Environmental Protection Agency for $383,732. Final Report published in 1985.
"A review and evaluation of the influence of chemicals on the permeability of soil clays." 1981. Funded by the
     Environmental Protection Agency for $339,056. Final report published in 1983.
"Quantify leak rates through holes in landfill liners" 1983-1985. Funded by Environmental Protection Agency for
     $232,769. Final report submitted in 1986.
"Efficiency of soil core and soil-pore liquid sampling systems". 1983-1985. Funded by Environmental Protection
     Agency for $101,766. Final report submitted in 1986.
"Completion of Field Investigation and an Evaluation of Mechanisms by which Organic Liquids Alter the
     Permeability of Clay Soils". 1984-1985. Funded by EPA for $59,000. Final report submitted in 1986.
"Mobility and Stability of Mutagenic Compounds in Municipal Sewage Sludge Amended Soil." 1984-1986. Funded
     by Environmental Protection Agency. for $281,800.
"Development of a Capillary Wick Unsaturated Zone Pore Water Sampler." 1985-1986. Funded by Environmental
     Protection Agency for $236,353.
"Evaluation of the Thickness of Clay Liners Required to Meet RCRA Requirements". Funded by Environmental
     Protection Agency. 1987-1989. First year funding $122,184.
"Development of a Pesticide Rinse Water Digester". 1986-88. Funded by Texas Water Resource Institute for
     $58,000.
"Determination of the optimum furrow dike size to minimize rainfall runoff". 1985. Funded by Texas Water
     Resource Institute for $17,500.
"In situ vapor extraction of volatile contaminants at Superfund sites" 1987-88. Funded by Texas Water Resource
     Institute for $40,000.
"Development of a comprehensive testing protocol to assess the hazard of an uncontrolled hazardous waste site".
     1987-89. Funded by Environmental Protection Agency for $315,897.
"Evaluation of the Bacterial Mutagenicity and Chemical Characteristics of Municipal Landfill Leachate".
     1988-1990. Sponsored by Texas Water Resource Institute, $47,500.
"Bioassay Directed Chemical Characterization of Hazardous Organic Chemicals in Waste Contaminated
     Environments". Funded by National Institute of Health, 1989-1992, $422,000.
"The Use of Short-Term Bioassays to Assess the Human Health Hazard of Uncontrolled Hazardous Waste Sites".
     Funded by National Institute of Health, 1989-1992, $607,000.
"In Situ Bioremediation of Hazardous Substances in the Vadose Zone". Funded by USEPA, 1988-1991, $341,164.
"Effectiveness of Multiple Liner Systems for Hazardous Waste Containment Facilities". Funded by USEPA,
     1988-1991, $387,203.
"The Use of In-Vessel Composting as a Treatment Technology for Hazardous Waste Minimization". Funded by
     Gulf Coast Hazardous Substance Research Center, June 1, 1991-April 30, 1994, $107,471.
"Site Assessment.” Funded by NIH for $334,.650 for first 3 years. 1992-1996.
"Demonstration of the Degradation of Toxic Organics in Composted Municipal Solid Waste.” Funded by Texas
     Water Commission for $135,000 for two years, 1992-1994.
"A Preliminary Demonstration of the Use of In-Vessel Composting for Degradation of Waste Propellants."
     Sponsored by Day & Zimmermann, Inc. 1993. Funds amounted to $18,138.
  Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 28 of 65
Kirk W. Brown


“Water Use Efficiency and Wetting Patterns Associated with Directed Subsurface Irrigation.” Sponsored by Texas-
   Israel Exchange Program through the Texas Department of agriculture 1995-1996 Funds amount to $27,770.
Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 29 of 65




                               APPENDIX 2
        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 30 of 65
                    Comprehensive Listing of Testimony by K. W. Brown


25
         TRIAL TESTIMONY                                                                           DATE

25 25    Cause No. 27-CV-08-1912; State of Minnesota, Plaintiff, v. Associated Medical            10/18/10
         Assurance Limited, et al., Defendants in the District Court of Minnesota, Fourth         10/26/10
         Judicial District. Case involved the disposal of hazardous substances with
         industrial waste at the WDE, Oak Grove, and East Bethel Landfills and the
         contamination of groundwater as a result of these disposal practices. Retained by
         the Plaintiff.
24 24    File No. 62-C7-05-012469; State of Minnesota, Plaintiff, v. Evanston Insurance           10/26/09
         Co., et al., Defendants in the District Court of Minnesota, Second Judicial District.
         Case involved the disposal of hazardous substances with industrial waste at the
         WDE Landfill and the contamination of groundwater as a result of these disposal
         practices. Retained by the Plaintiff.
23 23    Civil Action No. 02-CV-3830; Agere Systems, Inc., et al., Plaintiffs, vs. Advanced        7/1/08
         Environmental Technology Corporation, et al., Defendant, in the United States
         District Court for the Eastern District of Pennsylvania. This case involved the
         alleged disposal of hazardous wastes at the Boarhead Farms Superfund Site in
         Bucks County, Pennsylvania. Retained by Handy & Harman Tube Co., Defendant
22 22    Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I .DuPont de Nemours       9/19-20/07
         and Company, et al., Defendants, in the Circuit Court of Harrison County, West          10/11-12/07
         Virginia. This case involved the contamination of homes and properties with metal
         dust from the former Meadowbrook Smelter in Spelter, West Virginia. Retained
         by the Plaintiffs.
21 21    Case No. 03-CV-498-CVE-PJC; Jimmy Dale Palmer, et al., Plaintiffs, v. Asarco              7/30/07
         Incorporated, et al., Defendants in the United States District Court for the
         Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
         Superfund site and the subsequent assessment and evaluation of lead
         contamination and lead transport pathways in the communities of Picher and
         Cardin, Oklahoma, including the impacts of lead exposure to the children within
         these communities. Retained by the Plaintiffs.
20 20    Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I .DuPont de Nemours        5/1/06
         and Company, et al., Defendants, in the Circuit Court of Harrison County, West
         Virginia. This case involved the contamination of homes and properties with metal
         dust from the former Meadowbrook Smelter in Spelter, West Virginia. Retained
         by the Plaintiffs.
19 19    Civil Action No. 95-CV-6400L, Seneca Meadows, Plaintiff vs. ECI Liquidating, et         6/21/05 to
         al., Defendants in the United States District Court, Western District of New York.       6/23/05
         This case involved claims against defendants concerning the disposal of hazardous
         substances in the Tantalo Landfill, Seneca Falls, New York. Retained by the
         Plaintiff.




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     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 31 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


18    Civil Action No. 01:01-CV-890; Lyondell Chemical Company, et al., Plaintiffs v.         4/18/05
      Albemarle Corporation, et al., Defendants in the United States District Court for
      the Eastern District Of Texas, Beaumont Division. This case involved the disposal
      of waste containing hazardous substances and groundwater contamination at the
      Turtle Bayou Superfund in Liberty County, Texas. Retained by ExxonMobil,
      Defendant.
17    Cause No. 03-001121-CV; Joseph Paul Horlen, et al., Plaintiffs, v. Robert S.            6/17/04
      Smith and Robo Investments, Inc., Defendants in the District Court of Brazos
      County, Texas, 361st Judicial District. Case involved the subsurface loss of water
      from a man-made lake within a residential subdivision and the subsequent
      undercutting of riverbank along the Brazos River. Retained by the Plaintiffs.
16    Civil Action No. 98-CV-0838S (F); W.R. Grace & Co.-Conn., Plaintiff, v. Zotos          5/17/04 to
      International, Inc., Defendant in the United States District Court Western District     5/21/04
      of New York. Case involved the disposal of cosmetic waste at the Brewer Road
      Landfill in Waterloo County, and the contamination of groundwater as a result of
      these disposal practices. Retained by the Plaintiff.
15    Civil Action No. 95-2097 Interfaith Community Organization, et al., Plaintiffs v.      1/28/03 to
      Honeywell International, Inc. et al., Defendants. In the United States District         1/29/03
      Court for the District of New Jersey. This case involved claims against the
      defendants concerning disposal of chromium waste at the Roosevelt Drive-In Site
      in Jersey City, New Jersey. Retained by W.R. Grace & Co., W.R. Grace Ltd. and
      ECARG, Inc., Plaintiffs.
14    Case No. 80-1589; United States of America, Plaintiff, vs. City of Philadelphia,      08/29/02 to
      Plaintiff-Intervenor, vs. Union Corporation Metal Bank of America, et al.,             09/05/02
      Defendants, vs. Consolidated Edison Company of New York, et al., Third Party
      Defendants. In the United States District Court for the Eastern District of
      Pennsylvania. This case involved claims against the defendants concerning the
      release of PCBs from the Metal Bank/Cottman Avenue Site to the Delaware River.
      Retained by the Defendants.
13    Civil No. N-87-52 (PCD). The B.F. Goodrich Company, et al., Plaintiffs v. Harold       01/05/98 to
      Murtha, et al., Defendants v. Risdon Corporation et al., Third Party Defendants.      01/09/98 and
      In the United States District Court, District of Connecticut. Case involved            01/12/98 to
      characterization of hazardous substances in waste generated by industries,              01/13/98
      commercial establishments, and municipalities disposed at two landfills in
      Connecticut, Beacon Heights Landfills and Laurel Park Landfill, which were
      classified as Superfund sites. Retained by Plaintiffs Beacon Heights Coalition and
      Laurel Park Coalition.




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     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 32 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


12    Docket Nos. CV-96-0564091S and CV-96-0564092S; Oxford Tire Supply, Inc.,                12/18/97
      Plaintiff v. Commissioner of the Department of Revenue Services, Defendant. In
      the Superior Court, Judicial District of Hartford/New Britain at Hartford,
      Connecticut. Case involved tax issues associated with handling of hazardous
      materials as defined by Connecticut tax regulation. Primary area of testimony was
      leaching of hazardous substances from rubber tire waste. Retained by Plaintiffs.
11    Civil Action No. 292CV00674(JBA); The Companies for Fair Allocation Group v.           6/13–14/96
      Axil Corporation, et al. In the United States District Court for the District of
      Connecticut. Case involved question of hazardous waste disposal by the Dynamics
      Corporation of America (Waring Division) at the Barkhamsted-New Hartford
      Landfill Superfund site in Barkhamsted, Connecticut. Retained by the Plaintiffs.
10    Civil Action No. 93-CV-0090-B; KN Energy, Inc., et al., v. Sinclair Oil Corp.,           6/6/95
      d/b/a/ Little America Refining Co. United States District Court, District of
      Wyoming. Case involved study of hydrocarbon and metals groundwater plume,
      which had migrated from the area of a refinery and adjacent terminal to a nearby
      neighborhood in Wyoming. Work involved study of the origin of the plume.
      Retained by the Plaintiff.
9     Cause No. CA-94-CI-05270; John Gibson Trustee v. Exxon Corporation. District             2/17/95
      Court, 225th Judicial District, Bexar County, Texas. Suit involved claim by              2/21/95
      property owners adjacent to an old refinery for damages due to contaminant
      migration onto their property from previous waste disposal operations at the
      closed refinery. Retained by the Defendant.
8     Docket No. N-87-52 (PCD), All Cases; The B.F. Goodrich Company, et al.,                12/15–19/94
      Plaintiffs v. Harold Murtha, et al., Defendants v. Risdon Corporation et al., Third
      Party Defendants. United States District Court for the District of Connecticut. Suit
      concerning the hazardous nature of waste disposed at the Beacon Heights Landfill
      Superfund site. Retained by the Plaintiff.
7     Case No. 390-37213-SAF-11 and Case No. 390-37214-SAF-11, jointly                       5/18–20/92
      administered Chapter 11; In re: National Gypsum Company v. Aancor Holdings,               6/1/92
      Inc. Suit involved groundwater contamination associated with Rolling Knolls              6/24/92
      Landfill. Retained by the U.S.A.
6     Case No. CIV-86-1401-P; The United States of America v. Royal N. Hardage, et            10/27/89
      al., Advance Chemical Company, et al., v. ABCO, et al. United States District
      Court for the Western District of Oklahoma. Enforcement of ROD concerning
      remediation of hazardous waste site. Retained by the Plaintiff.
5     The United States of America, the State of New York, and UDC-Love Canal, Inc.,         3/20–21/89
      v. Occidental Chemical Corp., Occidental Chemical Holding Corp., Occidental
      Petroleum Investment Co., Occidental Petroleum Corp., City of Niagara Falls,
      Niagara County Health Department, and the Board of Education of the City of
      Niagara Falls, Love Canal Landfill Superfund site. United States District Court
      for the Western District of New York. Testimony on the mobility of organic
      pollutants through clay. Retained by the Plaintiff.

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    Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 33 of 65
                Comprehensive Listing of Testimony by K. W. Brown


4    Case No. 85-17210-C; James L. Slaughter, et al., v. Farm and Home Savings, et         12/6/89
     al., and Case No. 86-48352; Mike Fenimore, et al., v. Farm and Home Savings.
     151st Judicial District Court of Harris County, Texas. Case involved issues of land
     development and exposure to petrochemical wastes by residents in neighborhoods
     adjacent to the Brio/Dixie Oil Processors Superfund sites (Houston, Texas).
     Retained by the Plaintiffs.
3    Barbara Lips v. Jacobs Oil Company. Federal District Court in Corpus Christi,          1985
     Texas. Testimony on the damages and reclamation results from oilfield drilling
     mud wastes. Retained by the Plaintiff.
2    Blaire v. Palmer Oil. Texas District Court. Suit over the destruction of land
     resulting from oil exploration activities. Retained by the Plaintiff.
1    Jarvis L. Smoak v. Arkansas Louisiana Gas Company. In the Texas District Court
     of Marshall, Texas. Contamination of soil and loss of trees due to oil spill.
     Retained by the Defendant.




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          Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 34 of 65
                       Comprehensive Listing of Testimony by K. W. Brown


25
           DEPOSITION TESTIMONY

     86    Cause No. 22052-10563, consolidated with Cause No. 22052-09367 and Cause                4/23/14
           No. 22052-09366; Corby Baker, et al., Plaintiffs, v. Fluor Corporation, et al.,
           Defendants in the Missouri Circuit Court, Twenty-Second Judicial Court, State of
           Missouri. Case involved personal injury claims related to exposure to lead mining
           wastes. Retained by the Plaintiffs.
     85    Case No. 1:09-CV-0228, DNH-DRH, consolidated with Case No. 1:11-CV-006;                 4/16/14
           Village of Stillwater, et al., Plaintiffs, v. General Electric Co., Defendants in the
           United States District Court, Northern District of New York. Case involved
           contamination of the Hudson River with polychlorinated biphenyls. Retained by
           the Plaintiffs.
     84    Cause No. 052-09605; Charles A. Burnia, et al., Plaintiffs, v. Fluor Corporation,       8/19/13
           et al., Defendants in the Circuit Court of St. Louis, Twenty-Second Judicial
           Circuit, State of Missouri. Case involved personal injury claims related to
           exposure to lead mining wastes. Retained by the Plaintiffs.
83 83      Cause No. 3:08-CV-00229; Natural Resource Defense Council, et al., Plaintiffs, v.       9/22/10
           County of Dickson, Tennessee, et al., Defendants in the United States District
           Court for the Middle District of Tennessee. Case involved the contamination of
           groundwater by contaminants disposed of in the Dickson County Landfill.
82 82      Cause No. 08-CV-0161; Mary Ellen Hall, et al., Plaintiffs, v. Radiator Specialty        12/15/09
           Co., et al., Defendants in the District Court of Galveston County, Texas, 212th
           Judicial District. Case involved the exposure to benzene from historical emissions
           from the Union Carbide Chemical Co. facility in Texas City, Texas. Retained by
           the Plaintiffs.
81 81      Cause No. 27-CV-08-1912; State of Minnesota, Plaintiff, v. Associated Medical           10/28/09
           Assurance Limited, et al., Defendants in the District Court of Minnesota, Fourth
           Judicial District. Case involved the disposal of hazardous substances with
           industrial waste at the WDE, Oak Grove, and East Bethel Landfills and the
           contamination of groundwater as a result of these disposal practices. Retained by
           the Plaintiff.
80 80      Cause No. E-178,440; Darla J. Lemaire, Individually and as the Independent              9/17/09
           Executrix of the Estate of Michael Lemaire, Deceased; and Logan Lemaire,
           Plaintiffs, vs. Berryman Products, Inc, et al., Defendants. In the District Court of
           Jefferson County, Texas 172nd Judicial District. Retained by the Plaintiffs.
79 79      Cause No. GN-401028; Sotero Carrillo, Jose Carmen Carrillo, Miguel Cruz, and            2/21/08
           Greg Fuller Plaintiffs v. Reichold, Inc., Defendents, Zurich American Insurance
           Co., Intervenor. In the District Court of Travis County, Texas 98th Judicial
           District. Retained by the Plaintiffs.




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        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 35 of 65
                    Comprehensive Listing of Testimony by K. W. Brown


78 78    File No. 62-C7-05-012469; State of Minnesota, Plaintiff, v. Evanston Insurance           11/7/07
         Co., et al., Defendants in the District Court of Minnesota, Second Judicial District.
         Case involved the disposal of hazardous substances with industrial waste at the
         WDE Landfill and the contamination of groundwater as a result of these disposal
         practices. Retained by the Plaintiff.
77 77    Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I .DuPont de Nemours      4/30-5/1/07
         and Company, et al., Defendants, in the Circuit Court of Harrison County, West
         Virginia. This case involved the contamination of homes and properties with metal
         dust from the former Meadowbrook Smelter in Spelter, West Virginia. Retained
         by the Plaintiffs.
76 76    Civil Action No. 02-CV-3830; Agere Systems, Inc., et al., Plaintiffs, vs. Advanced      12/1/06 and
         Environmental Technology Corporation, et al., Defendant, in the United States             1/29/07
         District Court for the Eastern District of Pennsylvania. This case involved the
         alleged disposal of hazardous wastes at the Boarhead Farms Superfund Site in
         Bucks County, Pennsylvania. Retained by Handy & Harman Tube Co., Defendant
75 75    Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I .DuPont de Nemours      1/25-26/06
         and Company, et al., Defendants, in the Circuit Court of Harrison County, West             and
         Virginia. This case involved the contamination of homes and properties with metal        2/10/06
         dust from the former Meadowbrook Smelter in Spelter, West Virginia. Retained
         by the Plaintiffs.
74 74    Cause No. 02-4162 JPG; Chevron Environmental Management Company,                          8/3/05
         Chevron Environmental Services Company, and Texaco Inc., Plaintiffs, v. Indian
         Refining I Limited Partnership (f/k/a Indian Refining Limited Partnership), et al,
         Defendants in the United States District Court for the Southern District of Illinois.
         Case involved remediation and allocation of costs for the former Indian refinery in
         Lawrenceville, IL. Retained by the Plaintiff.
73 73    Cause No. 02-4162 JPG; Chevron Environmental Management Company,                          6/2/05
         Chevron Environmental Services Company, and Texaco Inc., Plaintiffs, v. Indian
         Refining I Limited Partnership (f/k/a Indian Refining Limited Partnership), et al,
         Defendants in the United States District Court for the Southern District of Illinois.
         Case involved remediation and allocation of costs for the former Indian refinery in
         Lawrenceville, IL. Retained by the Plaintiff.
72 72    Civil Action No. 95-CV-6400L, Seneca Meadows, Plaintiff vs. ECI Liquidating, et          5/27/05
         al., Defendants in the United States District Court, Western District of New York.
         This case involved claims against defendants concerning the disposal of hazardous
         substances in the Tantalo Landfill, Seneca Falls, New York. Retained by the
         Plaintiff.
71 71    File No. C7-0310992; State of Minnesota, Plaintiff, v. American Hardware Mutual          4/21/05
         Insurance Company, Defendants in the District Court of Minnesota, Tenth Judicial
         District. Case involved the disposal of hazardous substances with industrial waste
         at Oak Grove and East Bethel Landfills and the contamination of groundwater as a
         result of these disposal practices. Retained by the Plaintiff.

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        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 36 of 65
                    Comprehensive Listing of Testimony by K. W. Brown


70 70    Case No. 03-CV-327 (H) M; Betty Jean Cole, et al., Plaintiffs, v. Asarco               12/7/04
         Incorporated, et al., Defendants in the United States District Court for the
         Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
         Superfund site and the subsequent assessment and evaluation of lead
         contamination and lead transport pathways in the communities of Picher and
         Cardin, Oklahoma, including the impacts of lead exposure to the children within
         these communities. Retained by the Plaintiffs.
69 69    Case No. 03-CV-327 (H) M; Betty Jean Cole, et al., Plaintiffs, v. Asarco               10/22/04
         Incorporated, et al., Defendants in the United States District Court for the
         Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
         Superfund site and the subsequent assessment and evaluation of lead
         contamination and lead transport pathways in the communities of Picher and
         Cardin, Oklahoma, including the impacts of lead exposure to the children within
         these communities. Retained by the Plaintiffs.
68 68    Civil Action No. 01:01-CV-890; Lyondell Chemical Company, et al., Plaintiffs v.         7/8/04
         Albemarle Corporation, et al., Defendants in the United States District Court for
         the Eastern District Of Texas, Beaumont Division. This case involved the disposal
         of waste containing hazardous substances and groundwater contamination at the
         Turtle Bayou Superfund in Liberty County, Texas. Retained by ExxonMobil,
         Defendant.
67 67    Court File No. CT 02-016741; State of Minnesota, by its Attorney General, Mike         2/24/04
         Hatch, Plaintiff, v. American Hardware Mutual Insurance Co., et al., Defendants
         in the District Court of Minnesota, Fourth Judicial District. Case involved the
         disposal of hazardous substances with industrial waste at the WDE and St.
         Augusta Landfills and the contamination of groundwater as a result of these
         disposal practices. Retained by the Plaintiff.
66 66    Civil Action No. 98-CV-0838S (F); W.R. Grace & Co.-Conn., Plaintiff, V. Zotos          2/12/04
         International, Inc., Defendant in the United States District Court Western District
         Of New York. Case involved the disposal of cosmetic waste at the Brewer Road
         Landfill in Waterloo County, and the contamination of groundwater as a result of
         these disposal practices. Retained by the Plaintiff.
65 65    Case No. 00-01917 MRP (MANx); Shell Chemical Co., et al., Plaintiffs, vs. The           3/7/03
         County of Los Angeles, et al., Defendants in the United States District Court for
         the Central District of California; Case No. 00-1938 MRP (MANx); Phillips
         Petroleum Co., et al., Plaintiffs, vs. The County of Los Angeles, et al., Defendants
         in the United States District Court for the Central District of California; and Case
         No. 00-6420 MRP (MANx); Atlantic Richfield Co., et al., Plaintiffs, vs. BKK
         Corporation, et al., Defendants in the United States District Court for the Central
         District of California. These combined cases involved hazardous substances
         associated with municipal solid waste being deposited at Cal Compact Landfill.
         Retained by the Plaintiffs.



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        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 37 of 65
                     Comprehensive Listing of Testimony by K. W. Brown


64 64    Court File No. MC00-001819; State of Minnesota, by its Attorney General, Mike             12/17/02
         Hatch, Plaintiff, v. Employers Insurance of Wausau, A Mutual Company, et al.,
         Defendants in the District Court of Minnesota, Fourth Judicial District. Case
         involved the disposal of hazardous substances with industrial waste at the Oak
         Grove Landfill and East Bethel Landfill in Anoka County, and the contamination
         of groundwater as a result of these disposal practices. For the Plaintiff.
63 63    Case No. 80-1589; United States of America, Plaintiff, vs. City of Philadelphia,           5/28/02
         Plaintiff-Intervenor, vs. Union Corporation Metal Bank of America, et al.,
         Defendants, vs. Consolidated Edison Company of New York, et al., Third Party
         Defendants in the United States District Court for the Eastern District of
         Pennsylvania. This case involved claims against the defendants concerning the
         release of PCBs from the Metal Bank/Cottman Avenue Site to the Delaware River.
         Retained by the Defendants.
62 62    Civil Action No. H-98-0408 United States of America, et al. vs. Atlantic Richfield        6/26//01 -
         Company, et al vs. Ashland, Inc., et al., in the United States District Court              6/27/01
         Southern District of Texas Houston Division. This case involved claims against
         defendants concerning waste disposal at Sikes Pit. Retained by ExxonMobil,
         Defendant.
61 61    Civil Action No. 95-2097 Interfaith Community Organization, et al. v. Honeywell            6/20/01
         International, Inc. et al., in the United States District Court for the District of New
         Jersey. This case involved claims against the defendants concerning disposal of
         chromium waste at the Roosevelt Drive-In Site in Jersey City, New Jersey.
         Retained by W.R. Grace & Co., W.R. Grace Ltd. and ECARG, Inc., Defendants.
60 60    Civil Action No. 5:97CV00894; United States of America v. Chrysler Corp. et al.,          06/07/01
         in the in the United States District Court for the Northern District of Ohio. This
         case involved claims against the defendants concerning disposal of hazardous
         substances in the Krejci Dump Site. Retained by Minnesota Mining &
         Manufacturing Company, Defendant.
59 59    Civil Action No. G-96-493; Janie Rivas, et al., vs. Monsanto Company, et al., in          03/16/01
         the United States District Court for the Southern district of Texas Galveston
         Division. This case involves modeling of emissions and air dispersion of
         hazardous substances emanating from petrochemical wastes processed and
         disposed of at the Brio/Dixie Oil Processors Superfund Sites in Houston, Texas
         and related exposures to children in adjacent neighborhoods. Retained by the
         Plaintiffs.
58 58    Case No. CIV-91-2067-PHX-PGR Maurice McIntire, et al. vs. Motorola, Inc., in              5/31/00 -
         the United States District Court in and for the District of Arizona. This case             6/2/00
         involved a lawsuit by certain Phoenix residents concerning the VOC groundwater
         and ambient air plumes perpetrated by Motorola and the subsequent exposure of
         the litigants to the hazardous substances. This deposition involved waste
         management and waste handling.



                                                       8
        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 38 of 65
                    Comprehensive Listing of Testimony by K. W. Brown


57 57    Case No. 98-CV0726 Connie Lolley Klostermann, et al vs. Ultramar Diamond               5/26/00
         Shamrock Corporation, et al., in the 212th Judicial District Court, Galveston
         County, Texas. This case involved a lawsuit by the landowner concerning property
         damage resulting from leaking storage tank contamination. Retained by Diamond
         Shamrock, Defendant.
56 56    Case No. 97-6222 MRP (MANx) Commercial Realty Projects, Inc., and L.A.                  3/6/00
         Metromall LLC, vs. Atlantic Richfield Company, et al., in the United States
         District Court in for the Central District of California. This case involved
         hazardous substances associated with municipal solid waste being deposited at Cal
         Compact Landfill. Retained by the Defendants.
55 55    Case No. 93-055257 Ralph L. Nichols, Jr., et al. vs. Monsanto Company, et al., in      1/28/00
         the 125th Judicial District Court of Harris County, Texas. This case involved
         contaminant migration via air, surface water, and groundwater media from the
         Dixie Oil Processors Superfund Site to adjacent athletic field. Retained by the
         Plaintiffs.
54 54    Case No. CIV-91-2067-PHX-PGR Maurice McIntire, et al. vs. Motorola, Inc., in           12/6/99 -
         the United States District Court in and for the District of Arizona. This case          12/8/99
         involved a lawsuit by certain Phoenix residents concerning the VOC groundwater
         and ambient air plumes perpetrated by Motorola and the subsequent exposure of
         the litigants to the hazardous substances.
53 53    Case No. 89-4340 (JBS) United States vs. Helen Kramer et al., In the United            10/6/99
         States District Court for the District of New Jersey. This case involved hazardous
         substance deposition into Kramer Landfill (Superfund Site) by defendants.
         Retained by lawyers for the plaintiff.
52 52    Case No. 92-034865; James E. Barnet, Sr., et al., vs. Monsanto Company, et al. In      4/28/99
         the District Court of Harris County, Texas, 80th District Court. This case involved
         former workers’ claims concerning exposure to hazardous chemicals. Retained by
         the Plaintiffs.
51 51    Case No. 95C-1065; Lemberger Sites Remediation Group, Plaintiff, v. A.M.               3/12/99
         Richter & Sons Co., et al., and White Consolidated Industries, Inc., Defendants; In
         the United States District Court Eastern District of Wisconsin. This case involved
         hazardous constituents in waste going to Lemberger Landfill (Superfund Site).
         Retained by the Plaintiff.
50 50    Case No. 98-459-A; Lewie Byers; vs. Texaco Exploration and Production Inc. and         1/22/99
         Texaco Inc. In the District Court of Smith County, Texas 7th Judicial District. This
         case involves claims of contamination due to releases of crude oil and fluids from
         oil field production activities. Retained by the Defendant.




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        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 39 of 65
                    Comprehensive Listing of Testimony by K. W. Brown


49 49    C.A. No. G-96-493; Janie Rivas, et al., vs. Monsanto Company, et al.; Defendant.         12/30/98
         In the United States District Court for the Southern district of Texas Galveston
         Division. This case involves modeling of emissions and air dispersion of
         hazardous substances emanating from petrochemical wastes processed and
         disposed of at the Brio/Dixie Oil Processors Superfund Sites in Houston, Texas
         and related exposures to children in adjacent neighborhoods. Retained by the
         Plaintiffs.
48 48    Cause No. 95-044151; Rebecca Johnson, et al., and On Behalf of All Those                 7/24/98
         Similarly Situated, Plaintiffs, vs. Exxon Company, U.S.A., et al., Defendant. In the
         61st Judicial District Court, Harris County, Texas. Case involved claims of
         contamination to a neighborhood near Carver Elementary school that was built
         over covered pits where oil began to surface in 1995. Retained by the Defendant.
47 47    Case 75524; Clarice Friloux, et al., Plaintiffs, vs. Campbell Wells Corporation, et      5/21/98
         al., Defendants. In the 17th Judicial District Court, Parish of Lafourche, Louisiana.
         Case involved claims of offsite air migration of hazardous substances purportedly
         associated with a non-hazardous oilfield waste disposal facility. Retained by the
         Defendants.
46 46    Case No. 93-004644; Mike Adalis, et. al., Plaintiffs, vs. Neighborhood                  2/13/98 and
         Development Corporation, et al, Defendants. In the District Court of Harris                7/8/98
         County, Texas, 269th Judicial District. Case involved claims of groundwater and
         related drinking water well contamination attributable to 50 year old oil well
         blowout. Retained by the defendant Exxon.
45 45    Civil Action No. 95-514875-CE; Grand Trunk Western Railroad, Incorporated               5/22/97 and
         and Star Oil Company, Inc., Plaintiffs vs. Union Oil Company of California,              6/2/97 to
         Wynkoop Oil Company, Clement Wynkoop, Secory Oil Company and Lewis                         6/3/97
         Secory, Defendants and Union Oil Company and Clement Wynkoop, Counter-
         Plaintiffs/Cross-Plaintiffs vs. Secory Oil Company and Lewis Secory. Case
         involved modeling of the transport and fate of hydrocarbon fuels, which leaked
         from storage, tanks at a terminal and allegedly migrated onto adjoining properties
         of plaintiffs. Retained by the Defendants.
44 44    Case No. 93-03044, James W. Allen, III and Victoria Ann Allen, et al. Monsanto           5/13/97
         Company, et. al., and Case No. 93-14478, Christopher Irwin and Jon H. Moore, et
         al., in the District Court of Harris County, Texas, 113th Judicial District. Case
         involved contaminant migration via air, surface water and groundwater media
         from the Dixie Oil Processors Superfund Site to adjacent children’s athletic field.
         Retained by the Plaintiffs.
43 43    Civil Action 96C19S; Junker Landfill v. United Waste. In the U.S. District Court,        2/28/97
         Western District. Case involved study of hazardous substances in wastes generated
         by approximately 500 generators taken to Junker Landfill (Superfund Site).
         Retained by Plaintiffs.




                                                     10
        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 40 of 65
                    Comprehensive Listing of Testimony by K. W. Brown


42 42    Cause No. A99,534; Joann McKnight Lambert v. Melvin B. Etheredge, et al. In the         1/29/97
         70th District Court, Ector County, Texas. Case involved study of subsurface
         moisture condition and moisture migration through house slab. Retained by
         Plaintiff, Lambert.
41 41    Case No.: 2:92-CV-111; Commercial Union Insurance Co., et. al., v. Cannelton             9/5/96
         Industries, Inc., In the United States District Court for the Western District of
         Michigan. Case involved claim against insurance company for environmental
         remediation cost recovery associated with chromium contamination of St. Marys
         River due to a fire at an old tannery plant. Retained by Defendant.
40 40    Civil Action No. BC015575; Atlantic Richfield Company and ARCO Chemical                 4/9/96 -
         Company v. Aetna Casualty and Surety Company of America, et. al.; Superior              4/10/96
         Court of the State of California for the County of Los Angeles. Case involved
         disputed claims for insurance coverage of environmental contamination at old
         refinery sites at Sand Springs, Oklahoma, and Prewitt, New Mexico. Retained by
         the Plaintiffs.
39 39    Civil Action No. 92-2-28065-5; Aluminum Company of America and Northwest                 2/5/96
         Alloys, Inc. v. Accident and Casualty Insurance Company, et al. Superior Court of
         the State of Washington, In and For the County of King. Case involved disputed
         claims for insurance coverage of environmental contamination at three aluminum-
         manufacturing facilities across the country, and entailed extensive interpretation of
         historical aerial photographs of the facilities. Retained by the Plaintiffs.
38 38    Civil Action No. 87-4263(JHR); General Electric Company v. Buzby Brothers               11/29/95
         Materials Handling Company, et al. United States District Court for the District of
         New Jersey. Case involved recovery from commercial and municipal transporters
         of wastes of the costs for remediation of groundwater contamination at the site of
         the RCA-Buzby Landfill (Superfund Site) near Voorhees, New Jersey. Retained
         by the Plaintiff.
37 37    Civil Action No. 85-17210-G; David L. Smithson et al., v. Monsanto Company, et.         11/8/95
         al., District Courts, 11th Judicial District, Harris County, Texas; and Civil Action
         No. 93-045095; Thuy Thi Diep, et al., v. Monsanto Company, et al.; District
         Court, 55th Judicial District, Harris County, Texas. These consolidated cases
         involved the Brio Superfund Site and exposure of adjacent residents to hazardous
         chemicals in an old waste disposal site through air, soil, groundwater, surface
         water and drinking water pathways. Retained by Plaintiffs.
36 36    Case No. 94-C-1025; City and County of Denver et al., v. Alumet et al. United           8/17/95
         States District Court for the District of Colorado. Case involving the Lowry
         Landfill Superfund site in Denver, Colorado, and the apportionment of
         remediation costs due to contamination from co-disposal of municipal and
         industrial wastes. Retained by the Defendants.




                                                     11
        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 41 of 65
                    Comprehensive Listing of Testimony by K. W. Brown


35 35    Cause No. 15,527; Gary David Harding et al., v. Browning-Ferris Industries, Inc.,       6/22/95
         et. al., District Court, 229th Judicial District, Duval County, Texas. Case involving
         personal injury and property damage from industrial waste migration from a
         landfill. Retained by the Plaintiffs.
34 34    Case No. 93-03674-CA; In Re: Hipps Road Litigation. Circuit Court of the Fourth         5/26/95
         Judicial Circuit In and For Duval County, Florida. Suit regarding contamination of
         drinking water wells from hazardous waste leaking from a landfill. Retained by the
         Plaintiffs.
33 33    Cause No. 94-1499-A; Ardith Cavallo, et al., v. Star Enterprise, et al. United           5/5/95
         States District Court for the Eastern District of Virginia; Alexandria Division.
         Retained by the Defendant.
32 32    Case No. CJ-92-3515-62; N.C. Corff Partnership, Ltd., et al., v. Oxy USA, Inc.          4/26/95
         Oklahoma County District Court. Retained by the Defendant.
31 31    Civil Action No. 93-CV-0090-B; KN Energy, Inc. et al., v. Sinclair Oil                  4/19/95
         Corporation, d/b/a/ Little America Refining Co. United States District Court,
         District of Wyoming. Retained by the Plaintiff.
30 30    Cause No. CV-90-75-BU-PGH; Atlantic Richfield Co. v. Torger L. Oaas et. al.,             11/7/94
         United States District Court for the District of Montana, Butte Division. Retained      11/11/94
         by the Plaintiff.
29 29    Cause No. 92-032723; Clear Creek Independent School District v. Farm & Home             10/5/94
         Savings Association, et. al., District Court 11th Judicial District, Harris County,
         Texas. Retained by the Plaintiffs.
28 28    Cause No. CW 93-39-BU-PGH; Montana Resources, Inc. and Dennis R.                         9/9/94
         Washington v. Atlantic Richfield Company. United States District Court for the
         District of Montana, Butte Division. Retained by the Defendants.
27 27    Cause No. 31,692-S; Frank J. Kramr, Individually and as Parents and next friends         9/7/94
         of Sarah Kramr, a minor, v. Eastern Pipeline Company. District Court 329th
         Judicial District, Wharton County, Texas. Retained by the Plaintiffs.
26 26    Cause No. 85-17210-G; Gary L. Abel, et al., and David L. & Angell R. Smithson v.        5/18/94
         Monsanto, et al. District Court 151st Judicial District, Harris County. Suit
         concerning the Brio Superfund site. Retained by the Plaintiffs.
25 25    Case No. 92-CI-15104; Lionel Laguna and wife, Celia Laguna v. Exxon                     12/10/93
         Corporation United States of America. District Court, 57th Judicial District, Bexar
         County, Texas. Retained by the Defendant.
24 24    Civil Action No. SA-92-CA-0616; Jesse Sherrod, et al., v. U.S.A. Western District        4/9/93
         Court of Texas, San Antonio Division. Suit regarding the alleged leakage of
         chlorinated solvents from an air force base to surrounding areas. Retained by the
         Plaintiffs.




                                                     12
        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 42 of 65
                    Comprehensive Listing of Testimony by K. W. Brown


23 23    Case No. 390-37213-SAF-11 and Case No. 390-37214-SAF-11, jointly                         6/24/92
         administered Chapter 11; In re: National Gypsum Company v. Aancor Holdings,            5/18–20/92
         Inc. Retained by the U.S.                                                              4/26–27/92
22 22    Cause No. 85-17210-F; Andrea Acosta, et al., v. Farm & Home Savings                     5/13/92
         Association. District Court of Harris County, Texas. Suit concerning Brio
         (Houston, Texas) Superfund site. Retained by the Plaintiffs.
21 21    Civil Action No. CIV-91-655-W; Larry and Judy Bentley v. Koch Gathering                 2/21/92
         Systems, Inc. Suit concerning the remediation of an oil spill. Retained by Koch.        1/16/92
20 20    Cause No. 90C0468; Billy White, et. al., v. BP Chemicals, Inc. et. al., District         1/7/92
         Court of Brazoria County, Texas.
19 19    File No. 3-90-312; Kenneth M. Anderson as Personal Representative of the Estate         7/16/91
         of Fred W. Hedberg v. City of Minnetonka et al. United States District Court for
         the District of Minnesota, Third Division. Retained by the Plaintiff.
18 18    Consolidated Civil Action No. 83-C–2379; United States of America v. Shell Oil         4/22–23/91
         Company, consolidated with Civil Action No. 89–C–1646, United States of
         America v. State of Colorado. U.S. District Court for the State of Colorado.
         Retained by the U.S.A.
17 17    Case No. 485,475; Billy Fred Platt and Paula Kay Callahan v. Bio-Gro Systems,           3/28/91
         Inc. and the City of Austin. 353rd District Court, Travis County, Texas.
         Contamination to soil resulting from sewage sludge application. Retained by Mr.
         Platt.
16 16    Cause No. C88-0190-B consolidated with C89-0153-B; Sinclair Oil Corporation             4/27/90
         v. James S. Scherer, et al., and United States of America v. Sinclair Oil
         Corporation. United States District Court for the District of Wyoming. Suit
         concerning alleged contamination from refinery operations. Retained by the
         United States.
15 15    Case No. 63,993; Lawrence and Verna Postier v. Laidlaw Waste Systems, Inc., et.          1/9/90
         al., 240th Judicial District Court for Fort Bend County, Texas. Personal injury as a    12/21/89
         result of methane gas migration from a landfill. Retained by the Plaintiff.
14 14    Cause No. 1-88-0141-W; Watts and wife v. Koch Gathering Systems, Inc. United            8/23/89
         States District Court, North Texas Division, Abilene. Suit concerning land
         damages resulting from an oil spill. Retained by Koch.
13 13    The United States of America, the State of New York, and UDC-Love Canal, Inc.,         3/20–21/89
         v. Occidental Chemical Corp., Occidental Chemical Holding Corp., Occidental
         Petroleum Investment Co., Occidental Petroleum Corp., City of Niagara Falls,
         Niagara County Health Department, and the Board of Education of the City of
         Niagara Falls, Love Canal Landfill. United States District Court for the Western
         District of New York. Deposition on the mobility of organic pollutants through
         clay. Retained by the Plaintiff.



                                                      13
        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 43 of 65
                    Comprehensive Listing of Testimony by K. W. Brown


12 12    Case No. 85-17210-C; James L. Slaughter, et al., v. Farm and Home Savings, et.          1/13/89
         al., and Case No. 86-48352; Mike Fenimore, et al., v. Farm and Home Savings.           11/11/88
         151st Judicial District Court of Harris County, Texas. Damages and clean-up of
         Brio (Houston, Texas) Superfund site. Retained by the Plaintiffs.
11 11    Case No. CIV-86-1401-P; The United States of America v. Royal N. Hardage, et           6/13/88
         al., Advance Chemical Company, et al., v. ABCO, et al. United States District          12/2/88
         Court for the Western District of Oklahoma. Enforcement of ROD concerning
         remediation of hazardous waste site. Retained by the Plaintiff.
10 10    Case No. H-86-2629; United States of America v. International Shoe Company.             3/5/88
         RCRA compliance for solvent waste surface impoundment. Retained by the
         U.S.A.
   9     Joseph Edward Powell, et al., v. Pulte, et. al., District Court of Harris County,      11/11/88
         Texas. Vol. 1 No. 84-75865.

   8     Case No. M-85-191-CA; Sammy C. McElroy and wife, Kathleen Ann McElroy v.                9/5/86
         Getty Oil Company and Texaco, Inc. United States District Court for the Eastern        11/7/86
         District of Texas, Marshall Division; and Case No. CA-93-54; Sammy C. McElroy
         and wife, Kathleen Ann McElroy v. Halliburton Company. District Court In and
         For Panola County, Texas. Fish kill resulting from acid drainages from dried pond
         bottom mud. Retained by the Defendant.
77 7     Case No. 84-1112-A; Gary L. Overstreet and Glenda Ann Overstreet v. Texas Oil           5/2/86
         and Gas Corporation and Delhi Gas Pipeline Corporation. 14th Judicial District
         Court of Dallas County, Texas. Suit concerning alleged sulfur contamination of
         soil, forage, and its potential impact on the productivity of dairy cattle. Retained
         by the Defendant.
   6     Case No. 86-6-8186; Mobil Producing Texas and New Mexico v. Burr Stafford, et          3/11/86
         al. 24th Judicial District Court In and For Jackson County, Texas. Testimony on
         the damages to soil and crops caused by oil production activities. Retained by the
         Plaintiff.
   5     Case No. 83-CV-1116; Clifford and Sandra Schiesl, et al., and Orrin Hagen v.           10/17/86
         Uniroyal, Inc., and Waste Management of Wisconsin, Inc. v. City of Stoughton, et
         al., v. Richard H. Sundby, et al. Circuit Court for the State of Wisconsin, Dane
         County. Contribution of municipal waste constituents to ground water
         contamination of the Hagen Landfill (Superfund Site) in Dane County, Wisconsin.
         Retained by Uniroyal.
75 4     Bagwell Greenhouse v. Ball Seed Company. Suit over loss of crops due to
         contaminated plant growth mixture. Retained by the Defendant.
74 3     French v. Voluntary Purchasing Groups, Inc. Suit over the loss of cattle and the
         contamination of pasture land with arsenic. Retained by the Defendant.
73 2     Rader and Carpenter v. Texas-New Mexico Pipeline Company. Damage to soil,              3/11/88
         trees, and pasture due to oil spill down creek channel. Retained by the Defendant.

                                                      14
       Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 44 of 65
                   Comprehensive Listing of Testimony by K. W. Brown


72 1    Stronglite Products Company v. Frit Industries. Suit over the sale of products that
        contaminated plant growth mixture. Retained by the Plaintiff.




                                                    15
        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 45 of 65
                    Comprehensive Listing of Testimony by K. W. Brown


25
         REGULATORY HEARING TESTIMONY

26 26    Testimony at a hearing of the South Carolina Department of Health and                   3/93 2/93
         Environmental Protection regarding the GSX landfill. Retained by the Opposition.
25 25    In the matter of the application of the North Texas Municipal Water District to          2/15/93
         Amend Solid Waste Permit No. 568A
24 24    Testimony at a hearing on a proposed permit amendment regarding the City of              1/27/93
         McKinney (TX) Landfill. Retained by the Opposition.
23 23    Testimony at hearings of the Public Utility Commission of Texas regarding the           6/1/92 5/92
         Lon C. Hill-Coleto Creek 345 kv Transmission Line. Retained by the Applicant.              1990
22 22    Testimony at a hearing to review an amendment to expand the City of Waco (TX)            1/23/91
         Landfill. Retained by the Opposition.
21 21    Testimony at hearing regarding the siting of the Cherokee County Landfill (TX)          9/21–22/88
         near an aquifer recharge area. Retained by the Opposition.
20 20    Testimony at permit hearing regarding the Green Valley Environmental                       9/88
         Corporation Landfill in Greenup County, Kentucky, regarding suitable siting
         criteria for a landfill. Retained by opposing parties Clarence Clay, Janet Brown, et.
         al.
19 19    Application of Metropolitan Waste Systems for a Landfill.                                7/27/88

18 18    Application of Laidlaw Waste Systems, Inc. before the Regional Pollution Control         6/17/87
         Facility Siting Committee of the McHenry County Board.
17 17    Testimony at a hearing of the Wayne County Board of Commissioners (IL) on               7/15–18/86
         operation and maintenance of landfills and associated problems that can impact
         the environment.
15 16    Testimony at a hearing to review a Browning-Ferris Industries municipal landfill         11/9/83
         (TX) permit application. Retained by the Tri-County Civic Association.
14 15    Testimony at an administrative hearing in Illinois on the criteria to be used to ban     11/1/83
         organic chemicals from landfills.
13 14    Testimony at hearings held by the Texas Railroad Commission regarding the                  1980
         Texas Municipal Power Agency. Retained by TMPA.
12 13    Testimony at a permit hearing regarding a proposed Chemical Waste Management               1978
         landfill in Lake Charles, Louisiana.
15 12    Testimony at a hearing to review a Browning-Ferris Industries municipal landfill         11/9/83
         (TX) permit application. Retained by the Tri-County Civic Association.
11 11    Testimony at EPA hearing on Chemical Waste Management Part B application for11
         hazardous waste site at Elmiel, Alabama. Comments on permit deficiencies.
         Retained by the Opposition.


                                                     16
        Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 46 of 65
                    Comprehensive Listing of Testimony by K. W. Brown


10 10    Testimony at an administrative hearing on the location of a Florida landfill in deep10
         sandy soils. Retained by Citizens for a Clean Environment.
   9     Testimony at a hearing on the State of Florida’s alternative landfill liner designs. 9
         Retained by MFM Environmental.
   8     Testimony at a hearing of the Jefferson County Board of Commissioners (IL) on 8
         the siting of a proposed landfill. Retained by the Opposition.
   7     Testimony at a hearing of the Iniquois County Board of Commissioners (IL) on 7
         the siting of a proposed municipal waste in water table. Retained by the
         Opposition.
   6     Testimony at a permit hearing on the land treatment of industrial wastes at the     6
         Exxon Chemical-Rollins Environmental facility in Baton Rouge, Louisiana.
         Retained by Exxon and Rollins.
   5     Testimony on pond design and assessment of offsite environmental risks at the       5
         USPCI facility in Oklahoma. Retained by USPCI.
   4     Testimony at a hearing of the Texas Railroad Commission regarding revocation of4
         a permit for drilling mud disposal operations which had overflowed onto adjacent
         soil. Retained by the Opposition.
   3     Testimony at a hearing of the Texas Water Commission regarding the land             3
         treatment of industrial wastes by Conservation Services, Inc. Retained by the
         Applicant.
   2     Testimony at a hearing of the Texas Water Commission concerning the Liberty 2
         Waste Disposal Company landfill to be located near Anahuac, Texas. Retained by
         the Opposition.
   1     Testimony at a hearing of the Texas Water Commission regarding a zero discharge   1
         permit for the irrigation disposal of treated sewage effluent. Retained by Upland
         Industries.




                                                      17
         Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 47 of 65
                     Comprehensive Listing of Testimony by K. W. Brown


25
          LEGISLATIVE HEARING TESTIMONY

     6    Testimony at a hearing of the Texas House of Representatives, Environmental        4/87
          Affairs Committee in April 1987, on the need for legislation to set up a waste
          management plan for the state.
     5    Testimony at a hearing of the Texas Governor’s Taskforce on Oil Spills in          2/85
          February 1985, on the fate of oil spill debris, and disposal technology options.
     4    Testimony at a hearing of the Texas Governor’s Taskforce on Hazardous Waste in     11/84
          November 1984, on the effectiveness of landfills for disposal technology.
     3    Testimony at a hearing of the Texas Governor’s Taskforce on Hazardous Waste in     6/84
          June 1984, on the impact of organic chemicals on the permeability of soils.
     2    Testimony at a hearing of the U.S. House of Representatives, Science and           11/82
          Technology Committee in November 1982, on the adequacy of EPA’s liquid
          management system to protect groundwater at hazardous waste landfills.
     1    Testimony at a hearing of the Texas House of Representatives, Environmental        4/82
          Affairs Committee in April 1982, on the impact of organic chemicals on the
          permeability of clay liners.




                                                      18
          Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 48 of 65
                       Comprehensive Listing of Testimony by K. W. Brown


25
           EXPERT WITNESS REPORTS/AFFIDAVITS

 100       Case No. 1:09-CV-0228, DNH-DRH, consolidated with Case No. 1:11-CV-006;                 2/14/14
           Village of Stillwater, et al., Plaintiffs, v. General Electric Co., Defendants in the
           United States District Court, Northern District of New York. Case involved
           contamination of the Hudson River with polychlorinated biphenyls. Rebuttal
           Report. Retained by the Plaintiffs.
     99    Case No. 1:09-CV-0228, DNH-DRH, consolidated with Case No. 1:11-CV-006;                 9/20/13
           Village of Stillwater, et al., Plaintiffs, v. General Electric Co., Defendants in the
           United States District Court, Northern District of New York. Case involved
           contamination of the Hudson River with polychlorinated biphenyls. Expert
           Report. Retained by the Plaintiffs.
     98    Cause No. 3:08-CV-00229; Natural Resource Defense Council, et al., Plaintiffs, v.       8/6/10
           County of Dickson, Tennessee, et al., Defendants in the United States District
           Court for the Middle District of Tennessee. Case involved the contamination of
           groundwater by contaminants disposed of in the Dickson County Landfill. Expert
           Report. Retained by the Plaintiffs.
     97    Cause No. 08-CV-0161; Mary Ellen Hall, et al., Plaintiffs, v. Radiator Specialty        11/6/09
           Co., et al., Defendants in the District Court of Galveston County, Texas, 212th
           Judicial District. Case involved the exposure to benzene from historical emissions
           from the Union Carbide Chemical Co. facility in Texas City, Texas. Expert
           Report. Retained by the Plaintiffs.
     96    Cause No. E-178,440; Darla J. Lemaire, et al., Plaintiffs, v. Berryman Products,        7/24/09
           et al., Defendants in the District Court of Jefferson County, Texas, 172nd Judicial
           District. Case involved the exposure to benzene from on-going emissions from the
           Huntsman Petrochemical facility in Port Neches, Texas. Expert Report. Retained
           by the Plaintiffs.
     95    Civil Action No. 04-C-465; Virdie Allen, et al., Plaintiffs, v. Monsanto Company,       8/19/08
           et al., Defendants in the Circuit Court of Putnam County, West Virginia. Case
           involved the contamination of communities with dioxins from the emissions from
           the former Monsanto facility in Nitro, West Virginia. Affidavit. Retained by the
           Plaintiffs.
     94    Docket No. L-13345-91; Pennsauken Solid Waste Management Authority, et al.,             7/18/08
           Plaintiff, v. New Jersey Department of Environmental Protection, et al.,
           Defendants in the Superior Court of New Jersey, Camden County: Law Division.
           Case involved disposal of hazardous substances in the commercial and industrial
           wastes at the Pennsauken Landfill in Camden County, New Jersey and the
           contamination of groundwater as a result of these disposal practices. Expert
           Report. Retained by Third-Party Defendant Cooper Industries, Inc.




                                                         19
     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 49 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


93    Cause No. GN-04-001028; Sotero Carrillo, Jose Carmen Carrillo, Miguel Cruz,             3/26/08
      and Greg Fuller and A&B Construction, Inc., Plaintiffs, v. Reichold, Inc.,
      Defendents, Zurich American Insurance Co., Intervenor. In the District Court of
      Travis County, Texas 98th Judicial District. Affidavit. Retained by the Plaintiffs.
92    Case No. 05-21207 Chapter 11 (Jointly Administered); In re: ASARCO LLC, et al.,          2/4/08
      in the United States Bankruptcy Court for the Southern District of Texas, Corpus
      Christi Division. Case involved an evaluation of the Tar Creek Superfund site and
      the subsequent assessment and evaluation of lead contamination and lead transport
      pathways in the communities of Picher and Cardin, Oklahoma, including the
      impacts of lead exposure to the children within these communities. Expert
      Rebuttal Report. Retained by the Plaintiffs.
91    Case No. 05-21207 Chapter 11 (Jointly Administered); In re: ASARCO LLC, et al.,         11/15/07
      in the United States Bankruptcy Court for the Southern District of Texas, Corpus
      Christi Division. Case involved an evaluation of the Tar Creek Superfund site and
      the subsequent assessment and evaluation of lead contamination and lead transport
      pathways in the communities of Picher and Cardin, Oklahoma, including the
      impacts of lead exposure to the children within these communities. Expert Report.
      Retained by the Plaintiffs.
90    Case No. 03-CV-498-CVE-PJC; Jimmy Dale Palmer, et al., Plaintiffs, v. Asarco            6/15/07
      Incorporated, et al., Defendants in the United States District Court for the
      Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
      Superfund site and the subsequent assessment and evaluation of lead
      contamination and lead transport pathways in the communities of Picher and
      Cardin, Oklahoma, including the impacts of lead exposure to the children within
      these communities. Affidavit. Retained by the Plaintiffs.
89    File No. 62-C7-05-012469; State of Minnesota, Plaintiff, v. Evanston Insurance           6/8/07
      Co., et al., Defendants in the District Court of Minnesota, Second Judicial District.
      Case involved the disposal of hazardous substances with industrial waste at the
      WDE Landfill and the contamination of groundwater as a result of these disposal
      practices. Retained by the Plaintiff.
88    Case No. 03-CV-498-CVE-PJC; Jimmy Dale Palmer, et al., Plaintiffs, v. Asarco             6/4/07
      Incorporated, et al., Defendants in the United States District Court for the
      Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
      Superfund site and the subsequent assessment and evaluation of lead
      contamination and lead transport pathways in the communities of Picher and
      Cardin, Oklahoma, including the impacts of lead exposure to the children within
      these communities. Affidavit. Retained by the Plaintiffs.
87    Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I .DuPont de Nemours       4/2/07
      and Company, et al., Defendants, in the Circuit Court of Harrison County, West
      Virginia. This case involved the contamination of homes and properties with metal
      dust from the former Meadowbrook Smelter in Spelter, West Virginia. Retained
      by the Plaintiffs.


                                                  20
     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 50 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


86    Civil Action No. 02-CV-3830; Agere Systems, Inc., et al., Plaintiffs, vs. Advanced       9/28/06
      Environmental Technology Corporation, et al., Defendant, in the United States
      District Court for the Eastern District of Pennsylvania. This case involved the
      alleged disposal of hazardous wastes at the Boarhead Farms Superfund Site in
      Bucks County, Pennsylvania. Retained by Handy & Harman Tube Co., Defendant.
85    Cause No. GN-04-001028; Sotero Carrillo, Jose Carmen Carrillo, Miguel Cruz,              8/29/06
      and Greg Fuller and A&B Construction, Inc., Plaintiffs, v. Reichold, Inc.,
      Defendents, Zurich American Insurance Co., Intervenor. In the District Court of
      Travis County, Texas 98th Judicial District. Retained by the Plaintiffs.
84    Court File No. 94-CQ-57578-CM; Ontario Superior Court of Justice between:                 5/1/06
      Frank Augustine, et al., Plaintiffs, and INCO Limited, Defendant. This case
      involved claims of contamination and economic loss as a result of emissions from
      the former nickel smelter in Port Colborne, Ontario. Expert Report. Retained by
      the Defendant.
83    Case No. 3:98-CV-3601; Cargill, Inc., et al., Plaintiffs, v. ABCO Construction,           3/1/06
      Inc., et al., Defendant ,in the United States District Court for the Southern District
      of Ohio, Western Division. This case involved claims of the disposal of hazardous
      substances in the former Valleycrest Landfill and the subsequent contamination of
      the Great Miami Aquifer. Expert Report. Retained by the Plaintiffs.
82    Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I. DuPont de Nemours       2/28/06
      and Company, et al., Defendants, in the Circuit Court of Harrison County, West
      Virginia. This case involved claims of contamination of homes and properties with
      metal dust from the former Meadowbrook Smelter in Spelter, West Virginia.
      Rebuttal Report. Retained by the Plaintiffs.
81    Court File No. 94-CQ-57578-CM; Ontario Superior Court of Justice between:                2/16/06
      Frank Augustine, et al., Plaintiffs, and INCO Limited, Defendant. This case
      involved claims of contamination and economic loss as a result of emissions from
      the former nickel smelter in Port Colborne, Ontario. Expert Report. Retained by
      the Defendant.
80    Case no. 04-C-296-2; Lenora Perrine, et al., Plaintiffs vs. E.I. DuPont de Nemours       11/11/05
      and Company, et al., Defendants, in the Circuit Court of Harrison County, West
      Virginia. This case involved claims of contamination of homes and properties with
      metal dust from the former Meadowbrook Smelter in Spelter, West Virginia.
      Expert Report. Retained by the Plaintiffs.
79    Civil No. 95-2907 (DMC); Interfaith Community Organization, et al., Plaintiffs           10/05/05
      vs. Honeywell International Inc., et al., Defendants in the United States Court of
      Appeals for the Third Circuit. This case involved claims against the defendants
      concerning disposal of chromium waste at the Roosevelt Drive-In Site in Jersey
      City, New Jersey. Declaration. Retained by Honeywell, Defendant.




                                                   21
     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 51 of 65
                  Comprehensive Listing of Testimony by K. W. Brown


78    Cause No. L-02-0087-CV-A; Betty Waldean Woelfel, et al., Plaintiffs, vs.                   8/8/05
      Intercontinental Energy Corporation d/b/a IEC Corp. of Texas and Westinghouse
      Electric Company, L.L.C., Defendants in the District Court of Live Oak County,
      Texas, 36th Judicial District. Case involved the remediation and release of land
      associated with the Lamprecht and Zamzow ISL Uranium mine sites.
      Supplemental Affidavit. Retained by Defendant Viacom.
77    Cause No. L-02-0087-CV-A; Betty Waldean Woelfel, et al., Plaintiffs, vs.                   7/29/05
      Intercontinental Energy Corporation d/b/a IEC Corp. of Texas and Westinghouse
      Electric Company, L.L.C., Defendants in the District Court of Live Oak County,
      Texas, 36th Judicial District. Case involved the remediation and release of land
      associated with the Lamprecht and Zamzow ISL Uranium mine sites. Affidavit.
      Retained by Defendant Viacom.
76    Cause No. 02-4162 JPG; Chevron Environmental Management Company,                           7/19/05
      Chevron Environmental Services Company, and Texaco Inc., Plaintiffs, v. Indian
      Refining I Limited Partnership (f/k/a Indian Refining Limited Partnership), et al,
      Defendants in the United States District Court for the Southern District of Illinois.
      Case involved remediation and allocation of costs for the former Indian refinery in
      Lawrenceville, IL. Affidavit. Retained by the Plaintiff
75    Case No. 03-CV-327 (H) M; Betty Jean Cole, et al., Plaintiffs, v. Asarco                   5/27/05
      Incorporated, et al., Defendants in the United States District Court for the
      Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
      Superfund site and the subsequent assessment and evaluation of lead
      contamination and lead transport pathways in the communities of Picher and
      Cardin, Oklahoma, including the impacts of lead exposure to the children within
      these communities. Affidavit. Retained by the Plaintiffs.
74    Civil Action No. 95-CV-6400L, Seneca Meadows, Plaintiff vs. ECI Liquidating, et            5/10/05
      al., Defendants in the United States District Court, Western District of New York.
      This case involved claims against defendants concerning the disposal of hazardous
      substances in the Tantalo Landfill, Seneca Falls, New York. Retained by the
      Plaintiff.
73    Cause No. 02-4162 JPG; Chevron Environmental Management Company, Chevron                   5/2/05
      Environmental Services Company, and Texaco Inc., Plaintiffs, v. Indian Refining I
      Limited Partnership (f/k/a Indian Refining Limited Partnership), et al, Defendants
      in the United States District Court for the Southern District of Illinois. Case involved
      remediation and allocation of costs for the former Indian refinery in Lawrenceville,
      IL. Retained by the Plaintiff
72    File No. C7-0310992; State of Minnesota, Plaintiff, v. American Hardware Mutual            4/11/05
      Insurance Company, Defendants in the District Court of Minnesota, Tenth Judicial
      District. Case involved the disposal of hazardous substances with industrial waste
      at Oak Grove and East Bethel Landfills and the contamination of groundwater as a
      result of these disposal practices. Retained by the Plaintiff.



                                                    22
     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 52 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


71    Cause No. C200300273 Judy Miller, Stan Miller, Deanna Aureli, Brent Aureli,            11/22/04
      and Nicholas Aureli v Blue Haven Pool, Defendant in the Texas Judicial Court of
      Johnson County. Case involved claims against the defendant regarding the
      installation of a swimming pool, and a broken septic sewer line. Retained by the
      Defendant.
70    Case No. 03-CV-327 (H) M; Betty Jean Cole, et al., Plaintiffs, v. Asarco               10/28/04
      Incorporated, et al., Defendants in the United States District Court for the
      Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
      Superfund site and the subsequent assessment and evaluation of lead
      contamination and lead transport pathways in the communities of Picher and
      Cardin, Oklahoma, including the impacts of lead exposure to the children within
      these communities. Expert Rebuttal Report. Retained by the Plaintiffs.
69    Nos. 03-2760, 03-3037 & 03-3585; Interfaith Community Organization, et al.,            6/25/04
      Plaintiffs vs. Honeywell International Inc., et al., Defendants in the United States
      Court of Appeals for the Third Circuit. This case involved claims against the
      defendants concerning disposal of chromium waste at the Roosevelt Drive-In Site
      in Jersey City, New Jersey. Affidavit. Retained by W.R. Grace & Co., W.R. Grace
      Ltd. and ECARG, Inc., Defendants.
68    Civil Action No. 01:01-CV-890; Lyondell Chemical Company, et al., Plaintiffs v.        5/14/04
      Albemarle Corporation, et al., Defendants in the United States District Court for
      the Eastern District Of Texas Beaumont Division. This case involved the disposal
      of waste containing hazardous substances and groundwater contamination at the
      Turtle Bayou Superfund in Liberty County, Texas. Supplemental Report. Retained
      by ExxonMobil, Defendant.
67    Case No. 94 CV 012385; Employers Insurance of Wausau, A Mutual Company,                 5/3/04
      Plaintiffs, v. Newell Co., Defendants in the State of Wisconsin Circuit Court for
      Milwaukee County. Case involved characterization of waste streams and the
      hazardous constituent content of waste streams produced by the Newell Co.
      subsidiaries, as well as the disposal of hazardous constituents into municipal
      landfills by the Newell Co. subsidiaries. Expert Report. Retained by the
      Defendants.
66    Cause No. 03-001121-CV; Joseph Paul Horlen, et al., Plaintiffs, v. Robert S.           4/29/04
      Smith and Robo Investments, Inc., Defendants in the District Court of Brazos
      County, Texas, 361st Judicial District. Case involved the subsurface loss of water
      from a man-made lake within a residential subdivision and the subsequent
      undercutting of riverbank along the Brazos River. Affidavit. Retained by the
      Plaintiffs.




                                                  23
     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 53 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


65    Case No. 03-CV-327 (H) M; Betty Jean Cole, et al., Plaintiffs, v. Asarco              4/12/04
      Incorporated, et al., Defendants in the United States District Court for the
      Northern District of Oklahoma. Case involved an evaluation of the Tar Creek
      Superfund site and the subsequent assessment and evaluation of lead
      contamination and lead transport pathways in the communities of Picher and
      Cardin, Oklahoma, including the impacts of lead exposure to the children within
      these communities. Expert Report. Retained by the Plaintiffs.
64    Cause No. 03-001121-CV; Joseph Paul Horlen, et al., Plaintiffs, v. Robert S.           3/5/04
      Smith and Robo Investments, Inc., Defendants in the District Court of Brazos
      County, Texas, 361st Judicial District. Case involved the subsurface loss of water
      from a man-made lake within a residential subdivision and the subsequent
      undercutting of riverbank along the Brazos River. Expert Opinion. Retained by the
      Plaintiffs.
63    Docket No. CWA-06-2003-4805; BP Pipelines (North America) Inc., Respondent,            2/6/04
      v. United States Environmental Protection Agency Region 6. Case involved the
      subsurface release of crude oil from a pipeline at a site near Mertzon, Texas.
      Declaration. Retained by the Respondent.
62    Civil Action No. 95-2097; Interfaith Community Organization, et al., vs.               1/9/04
      Honeywell International Inc., et al., in the United States District Court for the
      District of New Jersey. This case involved claims against the defendants
      concerning disposal of chromium waste at the Roosevelt Drive-In Site in Jersey
      City, New Jersey. Affidavit. Retained by W.R. Grace & Co., W.R. Grace Ltd. and
      ECARG, Inc., Defendants.
61    Civil Action No. 01:01-CV-890; Lyondell Chemical Company, et al., Plaintiffs v.       12/19/03
      Albemarle Corporation, et al., Defendants in the United States District Court for
      the Eastern District Of Texas Beaumont Division. This case involved the disposal
      of waste containing hazardous substances and groundwater contamination at the
      Turtle Bayou Superfund in Liberty County, Texas. Expert Witness Report.
      Retained by ExxonMobil, Defendant.
60    File No. CT 02-016741; State of Minnesota, by its Attorney General, Mike Hatch,       12/19/03
      Plaintiff, v. American Hardware Mutual Insurance Company, et al., Defendants in
      the District Court of Minnesota, Fourth Judicial District. Case involved the breach
      of the asphalt seal in the Hazardous Waste Disposal Pit at the Waste Disposal
      Engineering Landfill in Anoka County contributed to the groundwater
      contamination in the vicinity of the site. Affidavit. Retained by the Plaintiff.
59    Civil Action No. 95-2097; Interfaith Community Organization, et al., vs.              12/3/03
      Honeywell International Inc., et al., in the United States District Court for the
      District of New Jersey. This case involved claims against the defendants
      concerning disposal of chromium waste at the Roosevelt Drive-In Site in Jersey
      City, New Jersey. Affidavit. Retained by W.R. Grace & Co., W.R. Grace Ltd. and
      ECARG, Inc., Defendants.



                                                 24
     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 54 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


58    Docket No. CWA-06-2003-4805; BP Pipelines (North America) Inc., Respondent,            11/21/03
      v. United States Environmental Protection Agency Region 6. Case involved the
      subsurface release of crude oil from a pipeline at a site near Mertzon, Texas.
      Expert Witness Report. Retained by the Respondent.
57    Civil Action No. 95-2097; Interfaith Community Organization, et al., Plaintiffs vs.    11/13/03
      Honeywell International Inc., et al., Defendants in the United States District Court
      for the District of New Jersey. This case involved claims against the defendants
      concerning disposal of chromium waste at the Roosevelt Drive-In Site in Jersey
      City, New Jersey. Declaration. Retained by W.R. Grace & Co., W.R. Grace Ltd.
      and ECARG, Inc., Defendants.
56    Civil Action No. 95-CV-6400L; Seneca Meadows, Inc., et al., Plaintiffs, v. ECI         10/17/03
      Liquidating, Inc., et al., Defendants in The United States District Court Western
      District Of New York. Case involved the disposal of industrial and domestic waste
      at the Tantalo Landfill in Seneca County. Expert Witness Report. Retained by the
      Plaintiff.
55    Civil Action No. 98-CV-0838S (F); W.R. Grace & Co.-Conn., Plaintiff, V. Zotos          9/29/03
      International, Inc., Defendant in the United States District Court Western District
      Of New York. Case involved the disposal of cosmetic waste at the Brewer Road
      Landfill in Waterloo County, and the contamination of groundwater as a result of
      these disposal practices. Declaration. Retained by the Plaintiff.
54    Court File No. MC00-001819; State of Minnesota, by its Attorney General, Mike           2/5/03
      Hatch, Plaintiff, v. Employers Insurance of Wausau, A Mutual Company, et al.,
      Defendants in the District Court of Minnesota, Fourth Judicial District. Case
      involved the disposal of hazardous substances with industrial waste at the Oak
      Grove Landfill and East Bethel Landfill in Anoka County, and the contamination
      of groundwater as a result of these disposal practices. Affidavit. Retained by the
      Plaintiff.
53    Case No. 00-01917 MRP (MANx); Shell Chemical Co., et al., Plaintiffs, vs. The          1/13/03
      County of Los Angeles, et al., Defendants in the United States District Court for
      the Central District of California; Case No. 00-1938 MRP (MANx); Phillips
      Petroleum Co., et al., Plaintiffs, vs. The County of Los Angeles, et al., Defendants
      in the United States District Court for the Central District of California; and Case
      No. 00-6420 MRP (MANx); Atlantic Richfield Co., et al., Plaintiffs, vs. BKK
      Corporation, et al., Defendants in the United States District Court for the Central
      District of California. These combined cases involved hazardous substances
      associated with municipal solid waste being deposited at Cal Compact Landfill.
      Expert Witness Report. Retained by the Plaintiffs.
52    Cause No. 98-56362; Browning-Ferris Industries, Inc., et al., Plaintiffs, v. Certain   1/03/03
      Underwriters at Lloyd’s London, et al., Defendants in the 80th Judicial District,
      District Court of Harris County, Texas. This case involved the disposal of waste
      containing hazardous substances and groundwater contamination at the Renner
      Landfill in Beaumont, Texas. Expert Witness Report. Retained by the Defendants.


                                                  25
     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 55 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


51    Case No. 80-1589; United States of America, Plaintiff, vs. City of Philadelphia,        8/23/02
      Plaintiff-Intervenor, vs. Union Corporation Metal Bank of America, et al.,
      Defendants, vs. Consolidated Edison Company of New York, et al., Third Party
      Defendants in the United States District Court for the Eastern District of
      Pennsylvania. This case involved claims against the defendants concerning the
      release of PCBs from the Metal Bank/Cottman Avenue Site to the Delaware River.
      Rebuttal Report. Retained by the Defendants.
50    Civil Action No. 98-CV-0696A (F); Booth Oil Site Administrative Group,                  5/02/02
      Plaintiffs, vs. Safety-Kleen Corp., et al., Defendants, in the United States District
      Court for the Western District of New York. This case involved claims against the
      defendants concerning the release of contaminants during used oil-recycling
      operations at the Booth Oil facility in North Tonawanda, New York. Affidavit.
      Retained by the Plaintiffs.
49    Case No. 80-1589; United States of America, Plaintiff, vs. City of Philadelphia,        8/23/01
      Plaintiff-Intervenor, vs. Union Corporation Metal Bank of America, et al.,
      Defendants, vs. Consolidated Edison Company of New York, et al., Third Party
      Defendants in the United States District Court for the Eastern District of
      Pennsylvania. This case involved claims against the defendants concerning the
      release of PCBs from the Metal Bank/Cottman Avenue Site to the Delaware River.
      Expert Witness Report. Retained by the Defendants.
48    Civil Action No. 1999-48287; Tim Dyring et al., Plaintiffs, v. Rohm & Haas              5/31/01
      Texas, Inc., et al., Defendants in the 125th District Court of Texas. This case
      involved claims against the defendants concerning the release of hazardous
      substances to the groundwater from waste materials disposed at the Charley Burch
      Site in South Montgomery County, Texas. Expert Witness Report. Retained by the
      Plaintiffs.
47    Civil Action No. 95-2097; Interfaith Community Organization, et al., vs.                3/27/01
      Honeywell International Inc., et al., in the United States District Court for the
      District of New Jersey. This case involved claims against the defendants
      concerning disposal of chromium waste at the Roosevelt Drive-In Site in Jersey
      City, New Jersey. Expert Witness Report. Retained by W.R. Grace & Co., W.R.
      Grace Ltd. and ECARG, Inc., Defendants.
46    Civil Action No. G-96-493; Janie Rivas, et al., vs. Monsanto Company, et al., in        3/2/01
      the United States District Court for the Southern District of Texas Galveston
      Division. This case involves modeling of emissions and air dispersion of
      hazardous substances emanating from petrochemical wastes processed and
      disposed of at the Brio/Dixie Oil Processors Superfund Sites in Houston, Texas
      and related exposures to children in adjacent neighborhoods. Expert Witness
      Report. Retained by the Plaintiffs.




                                                   26
     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 56 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


45    Civil Action No. 5:97 CV00894; United States of America vs. Chrysler                    2/28/01
      Corporation, et al., in the United States District Court for the Northern District Of
      Ohio. This case involved claims against the defendants concerning disposal of
      hazardous substances in the Krejci Dump Site. Expert Witness Report. Retained by
      Minnesota Mining & Manufacturing Co., Defendant.
44    Civil Action No. H-98-0408 United States of America, et al vs. Atlantic Richfield       2/15/01
      Company, et al vs. Ashland, Inc., et al., in the United States District Court
      Southern District of Texas Houston Division. This case involved claims against
      defendants concerning waste disposal at Sikes Pit. Expert Witness Report.
      Retained by ExxonMobil, Defendant.
43    Case No. 98-CV0726 Connie Lolley Klostermann, et al vs. Ultramar Diamond                5/19/00
      Shamrock Corporation, et al., in the 212th Judicial District Court, Galveston
      County, Texas. This case involved a lawsuit by the landowner concerning property
      damage resulting from leaking storage tank contamination. Retained by Diamond
      Shamrock, Defendant.
42    Case No. 97-6222 MRP (MANx) Commercial Realty Projects, Inc., and L.A.                  5/8/00
      Metromall LLC, vs. Atlantic Richfield Company, et al., in the United States
      District Court in for the Central District of California. This case involved
      hazardous substances associated with municipal solid waste being deposited at Cal
      Compact Landfill. Retained by the Defendants.
41    Civil Action No. 95-CV-6400L, Seneca Meadows vs. ECI Liquidating, et al. This           4/18/00
      case involved claims against defendants concerning the disposal of hazardous
      substances in the Tantalo Landfill, Seneca Falls, New York. Retained by the
      Plaintiff.
40    Case No. 92-034865; James E. Barnet, Sr., et al., vs. Monsanto Company, et al. In       4/7/00
      the District Court of Harris County, Texas, 80th District Court. This case involved
      former workers’ claims concerning exposure to hazardous chemicals. Retained by
      the Plaintiffs.
39    Case No. 97-6222 MRP (MANx) Commercial Realty Projects, Inc., and L.A.                  2/25/00
      Metromall LLC, vs. Atlantic Richfield Company, et al., in the United States
      District Court in for the Central District of California. This case involved
      hazardous substances associated with municipal solid waste being deposited at Cal
      Compact Landfill. Retained by the Defendant.
38    Civil Action No. 89-4340(JBS); The United States v. Helen Kramer; United States          6/99
      District Court District of New Jersey. This case involved claims against a
      defendant concerning the disposal of hazardous substances in the Kramer Landfill
      (Superfund Site). Retained by the Plaintiffs.




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     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 57 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


37    Civil Action No. G-96-494; Thu Van Le, et al., v. Monsanto Co., et al.; Defendant.       2/5/99
      In the United States District Court for the Southern District of Texas Galveston
      Division. This case involved modeling of emissions and air dispersion of
      hazardous substances emanating from petrochemical wastes processed and
      disposed of at the Brio/Dixie Oil Processors Superfund Sites in Houston, Texas
      and related exposures to children in adjacent neighborhoods. Retained by the
      Plaintiffs
36    Civil Action No. G-96-493; Janie Rivas, et al., vs. Monsanto Company, et al.;            2/5/99
      Defendant. In the United States District Court for the Southern district of Texas
      Galveston Division. This case involved modeling of emissions and air dispersion
      of hazardous substances emanating from petrochemical wastes processed and
      disposed of at the Brio/Dixie Oil Processors Superfund Sites in Houston, Texas
      and related exposures to children in adjacent neighborhoods. Retained by the
      Plaintiffs.
35    Civil Action No. 95-2215; Becton Dickinson Puerto Rico, Inc., et al., vs.                1/19/99
      Cheeseborough Pond’s Manufacturing Company, et al.; United States District                3/3/97
      Court for the District of Puerto Rico. This case involved claims against the            11/14/96
      defendant concerning the disposal of hazardous substances in the Juncos Landfill
      (Superfund Site). Retained by the Plaintiffs.
34    Case No. 95C-1065; Lemberger Sites Remediation Group, Plaintiff, v. A.M.                11/12/98
      Richter & Sons Co., et al., and White Consolidated Industries, Inc., Defendants; In
      the United States District Court Eastern District of Wisconsin. This case involved
      hazardous constituents in waste going to Lemberger Landfill (Superfund Site).
      Retained by the Plaintiff.
33    Case No. 98-459-A, Lewie Byers, vs. Texaco Exploration and Production Inc. and          4/30/99
      Texaco, Inc.; In the District Court of Smith County, Texas 7th Judicial District.       2/29/99
      This case involves claims of contamination due to releases of crude oil and fluids      1/29/99
      from oil field production activities. Retained by the Defendant.
32    Case No. 96-72483; Minnesota Mining and Manufacturing (3M) Company,                     6/31/98
      Plaintiff v. Howard W. Stein, Jr., Stein Enterprises, Inc. (f/k/a Stein’s Flower Shop   6/15/98
      and Green Houses, Inc.), the Dow Chemical Company, and General Motors
      Corporation, Defendants. In the United States District Court for the District of
      Michigan, Southern Division. Case involved evaluation of waste disposed at the
      Michigan Avenue Dumpsite by General Motors Corporation and Dow Chemical
      Company. Retained by the Plaintiff, 3M.
31    Case 75524; Clarice Friloux, et al., Plaintiffs, vs. Campbell Wells Corporation, et.     5/4/98
      al., Defendants. In the 17th Judicial District Court, Parish of Lafourche, Louisiana.
      Case involved claims of offsite air migration of hazardous substances purportedly
      associated with a non-hazardous oilfield waste disposal facility. Retained by the
      Defendants.




                                                  28
     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 58 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


30    Court File No. 3-95-933. Onan Corporation, Plaintiff and the State of Minnesota,      6/18/97
      and by its Attorney General, Hubert H. Humphrey, III, and by It Pollution Control
      Agency, Intervenors, v. Continental Insurance Company, Defendant. In the United
      States District Court, District of Minnesota. Case involved time of Leachate travel
      through two Landfills in Minnesota, Oak Grove Landfill and WDE Landfill, and
      the impact of the Leachate on the groundwater. For the Intervenors.
29    Civil Action No. 95-514875-CE; Grand Trunk Western Railroad, Incorporated             5/22/97
      and Star Oil Company, Inc., Plaintiffs vs. Union Oil Company of California,            6/2/97
      Wynkoop Oil Company, Clement Wynkoop, Secory Oil Company and Lewis
      Secory, Defendants and Union Oil Company and Clement Wynkoop, Counter-
      Plaintiffs/Cross-Plaintiffs vs. Secory Oil Company and Lewis Secory. Case
      involved modeling of the transport and fate of hydrocarbon fuels, which leaked
      from storage, tanks at a terminal and allegedly migrated onto adjoining properties
      of plaintiffs. Retained by the Defendants.
28    Civil Action No. 96-C-00489-5; Junker Landfill Trust, Plaintiff vs. United Waste      2/20/97
      Systems, Inc. et al., Defendants, and Junker Recycling, Inc., et. al., Defendants
      and Third Party Plaintiffs, vs. Garry Thompson, et al., Third Party Defendants;
      and Civil Action No. 96-C-00489-5, Landfill Remediation Trust, Plaintiff vs.
      Garry Thompson, et al., Defendants. In the United States District Court for the
      Western District of Wisconsin. Case involved contamination of groundwater,
      surface water, soil gas, and soil at the Junker Landfill (Superfund Site) and the
      relationship of that contamination to the wastes from over 450 generators.
      Retained by Plaintiffs.
27    Case No. 61180; Kenneth and Helen Songer, Plaintiffs vs. Billy and Mary Clement        7/1/97
      d/b/a Cecle Clement & Sons, and Harrison, Walker, Harper, Inc. and Joe Archer,        10/31/97
      d/b/a Archer Excavating. In the District Court of Lamar County, Texas, 6th
      Judicial District. Case involved claims of air contamination (hazardous gases and
      particulates) from trucking and excavating operations. Retained by the
      Defendants.
26    Case No. 93-C-0314; Hunt’s Generator Committee, et al., Plaintiffs v. Allis           4/14/97
      Chalmers Corporation, et al., Defendants. In the United States District Court for
      the Eastern District of Wisconsin. Case involved identification of waste products
      and hazardous substances within those waste products, which were disposed at the
      Hunt’s Disposal Landfill Site near Caledonia, Wisconsin. Retained by Plaintiff
      PRP Group.
25    Civil Action No. 94-1449-A; Ardith Cavallo, Plaintiff vs. Star Enterprise, Texaco      3/6/97
      Refining & Marketing (East), Inc., and Saudi Refining, Inc., Defendants. In the
      United States District Court, District of Eastern, Virginia. Case involved claim of
      property damage from hydrocarbons in the groundwater, which allegedly migrated
      to plaintiff’s property from a fuel terminal in Fairfax, Virginia. Retained by the
      Defendants.



                                                 29
     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 59 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


24    Case No. 93-004644; Mike Adalis, et. al., Plaintiffs, vs. Neighborhood                  12/16/96
      Development Corporation, et. al., Defendants. In the District Court of Harris
      County, Texas, 269th Judicial District. Case involved claims of groundwater and
      related drinking water well contamination attributable to a 50 year old oil well
      blowout. Retained by the defendant Exxon.
23    Case No. 2:92-CV-111; Commercial Union Insurance Co., et al. v. Cannelton                9/5/96
      Industries, Inc., In the United States District Court for the Western District of
      Michigan. Case involved claim against insurance company for environmental
      remediation cost recovery associated with chromium contamination of St. Mary’s
      River due to a fire at an old tannery plant. Retained by Defendant.
22    Case No. 93-C-0324; Hunt’s Generator Committee, et al. v. Allis Chalmers                8/21/96
      Corporation, et al; In the United States District Court, Eastern District of
      Wisconsin. Case involved identification of hazardous constituents in common
      household products found in the municipal solid waste from one city and disposed
      at the Hunt’s Disposal Landfill Superfund Site at Caledonia, Wisconsin. Retained
      by Plaintiff PRP Group.
21    Civil Action No. H-95-776; Rodney and Brenda Kay Beaver A/N/F of Wesley                 5/24/96
      Michael Beaver and Claude Paul Hargraves v. Monsanto Company; In the United
      States District Court for the Southern District of Texas, Houston Division. Cause
      involved short-term exposure of children to toxic contaminants in air, soil, and
      drinking water at athletic facility located adjacent to waste disposal/processing
      sites (Dixie Oil Processors/Brio Superfund Sites). Retained by the Plaintiffs.
20    Civil No. BC015575; Atlantic Richfield Co. and ARCO Chemical Co., v. Aetna              10/17/95
      Casualty and Surety Co. of American. Superior Court of the State of California. A
      Declaration on behalf of ARCO Garber, ARCO Sand Springs, and ARCO Prewitt.
19    Civil Action No. 87-4263(JHR); General Electric Company v. Buzby Brothers               9/28/95
      Materials Handling Company, et al. United States District Court for the District of
      New Jersey. Case involved recovery from commercial and municipal transporters
      of wastes of the costs for remediation of groundwater contamination at the site of
      the RCA-Buzby Landfill (Superfund Site) near Voorhees, New Jersey. Retained
      by the Plaintiff.
18    Case No. 4-93-CV-193; Cooper Industries, Inc., v. Abbott Laboratories, et al., in       8/14/95
      the U. S. District Court for the Western District of Michigan. Case involving
      Sturgis (Michigan) Well Field Superfund Site and the apportionment of
      remediation costs as between plaintiff and 35 defendants for solvent contamination
      of groundwater. Retained by the Plaintiffs.
17    Civil Action No. 94-C-1025; The City and County of Denver, et. al., v. Alumet           5/31/95
      Partnership, et al., and Alumet Partnership, et al., v. City of Aurora. U.S. District
      Court for the District of Colorado. Retained by the Defendants.
16    Civil Action No. 94-1449-A; Ardith Cavallo v. Star Enterprise, Texaco Refining &        4/24/95
      Marketing (East), Inc., and Saudi Refining, Inc. United States District Court,
      District of Eastern Virginia. Expert Witness Report. Retained by the Defendants.

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     Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 60 of 65
                 Comprehensive Listing of Testimony by K. W. Brown


15    Civil Action No. 93-CV-0080-B; KN Energy, Inc. et al., v. Sinclair Oil                  2/15/95
      Corporation d/b/a Little America Refining Company. United States District Court,
      District of Wyoming. Expert Witness Report. Retained by the Plaintiff.
14    Docket Nos. BUR-L-2533-92/01267-93; Gouryeb v. Woodland Township                        12/1/94
      Planning Board, Superior Court of New Jersey, Law Division/Burlington County.
      Affidavit. Retained by the Plaintiff.
13    Consolidated Civil Actions No. 90-75 BU-PGH; ARCO v. Oaas, et al., and No.              8/15/94
      91-82-BU-PGH, United States v. Montana Pole and Treating Plant, et al. United           9/12/94
      States District Court for the District of Montana, Butte Division. Expert Witness
      Report. Retained by the Defendant/Third Party Plaintiff.
12    Civil Action No. 94-243-A; William H. Ogden and Gay E. Tiffany v. Star                  8/31/94
      Enterprise, et al. United States District Court for the Eastern District of Virginia,
      Alexandria Division. Declaration. Retained by the Defendants.
11    Civil No. 93-186; United States v. Somerset Refinery, Inc. United States District       8/26/94
      Court for the Eastern District of Kentucky. Expert Witness Report. Retained by
      the U.S. Department of Justice.
10    Civil No. 93-381-A; Brian Feikema et al., v. Texaco, Inc., et al. United States         7/14/94
      District Court for the Eastern District of Virginia. Declaration. Retained by the       6/29/94
      Defendants.
9     Docket No. N-93-39-BU-PGH; Montana Resources Inc., et al., v. Atlantic                  6/14/94
      Richfield Co. U.S. District Court for the District of Montana. Retained by the
      Defendant.
8     Case No. 89-135; Citizens Asking For a Safe Environment, Inc., et al., v. South           3/94
      Carolina Department of Health and Environmental Control, et al. In the Matter of
      the RCRA Permit Decision for GSX Services of SC, Inc. Pinewood Facility,
      Sumter County; SC, before the State of South Carolina Board of Health and
      Environmental Control. Retained by the Opposition.
7     File No. 3-90-312; Kenneth M. Anderson as Personal Representative of the Estate         12/18/92
      of Fred W. Hedberg v. City of Minnetonka et al. United States District Court for
      the District of Minnesota, Third Division. Affidavit. Retained by the Plaintiff.
6     Affidavit and rebuttal affidavit regarding the proposed Lon C. Hill-Coleto Creek        10/21/91
      345 kV transmission line. Retained by Central Power & Light.                              8/90
5     File No. 3-90-312; Kenneth M. Anderson as Personal Representative of the Estate         7/16/91
      of Fred W. Hedberg v. City of Minnetonka et al. United States District Court for
      the District of Minnesota, Third Division. Retained by the Plaintiff.
4     Civil Action No. N–87–52 (both cases); The B. F. Goodrich Company, et. al., v.          6/29/90
      Harold Murtha, et al., and Harold Murtha, et al., v. Risdon Corporation. Circuit
      Court for the State of Connecticut. Contribution of municipal waste to
      environmental contamination associated with the Beacon Heights and Laurel Park
      Landfills (Superfund Sites). Retained by the Laurel Park and the Beacon Heights
      Coalitions.
                                                   31
    Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 61 of 65
                Comprehensive Listing of Testimony by K. W. Brown


3    Cause No. C88-0190-B consolidated with C89-0153-B; Sinclair Oil Corporation       4/27/90
     v. James S. Scherer, et al., and United States of America v. Sinclair Oil
     Corporation. United States District Court for the District of Wyoming. Suit
     concerning alleged contamination from refinery operations. Retained by the
     United States.
2    Case No. 80-4-CIV-7; The United States of America v. Waste Industries, Inc., et   9/29/85
     al. United States District Court for the Eastern District of North Carolina,
     Wilmington Division. Affidavit on leaking municipal landfill. Retained by the
     Plaintiff.
1    Affidavit and rebuttal affidavit regarding the proposed expansion of the Azusa
     Landfill (CA). Retained by an amicus curae party.




                                                32
         Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 62 of 65
                     Comprehensive Listing of Testimony by K. W. Brown


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     3    Report of “An Investigation and Assessment of the Texaco Sand Flat Unit,” by Dr.      11/13/98
          Kirk W. Brown. Prepared for Wallace, King, Marraro, and Branson, LLC on
          behalf of Texaco Exploration and Production.
     2    Report of “Evidence of Leachate Leaking from Azusa Landfill,” by Dr. Kirk W.
          Brown. Prepared for Geoscience Support Services, Inc. for Metropolitan Water
          District of California.
     1    Cause No. 93-1235; Adams, et al., v. RSR Corporation, et al. 71st Judicial District   12/14/94
          Court; Harrison County, Texas. Retained by the Plaintiffs.




                                                      33
Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 63 of 65




                               APPENDIX 3
  Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 64 of 65



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  Case 4:14-cv-02441 Document 3285-2 Filed on 12/23/16 in TXSD Page 65 of 65



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